      CASE 0:10-cr-00083-JNE-JSM       Doc. 93   Filed 10/01/10    Page 1 of 56




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                           CRIMINAL NO. 10-83 (JNE/JSM)

      Plaintiff,

v.                                                                  REPORT AND
                                                                  RECOMMENDATION

DAVID RICHARD ROSETTER (1),
LAUMATAFIAFIA T. ROSETTER (2), and
VATAUOMALAO DORTHEA TAFAOA (3),

      Defendants.

JANIE S. MAYERON, United States Magistrate Judge

      The above matter came on for hearing before the undersigned upon Defendant

David Richard Rosetter’s Motion to Suppress Evidence Obtained as a Result of Search

and Seizure [Docket No. 65] and Motion to Suppress Statements, Admissions, and

Answers [Docket No. 66]; defendant Laumatafiafia T. Rosetter’s Motion to Suppress All

Evidence Obtained from Unlawful Searches and Seizures [Docket No. 35], Motion to

Suppress Statements Made by Defendant [Docket No. 37], and Motion to Suppress All

Electronic Surveillance Evidence and All Disclosed Electronic Communications and Any

Evidence Derived Therefrom [Docket No. 38]; and defendant Vatauomalao Dorthea

Tafaoa’s Motion for Suppression of Physical Evidence [Docket No. 42] and Motion for

Suppression of Statements [Docket No. 44].

      Lisa Kirkpatrick, Assistant United States Attorney, appeared on behalf of the

United States of America; Douglas Olson, Esq., appeared on behalf of defendant David

Richard Rosetter, who was personally present; Daniel L. Gerdts, Esq. appeared on

behalf of defendant Laumatafiafia T. Rosetter, who was personally present; and
      CASE 0:10-cr-00083-JNE-JSM           Doc. 93   Filed 10/01/10   Page 2 of 56




Matthew D. Forsgren, Esq. and Ankoor Bagchi, Esq. appeared on behalf of

Vatauomalao Dorthea Tafaoa, who was personally present.

       The matter was referred to the undersigned by the District Court for a Report and

Recommendation pursuant to 28 U.S.C. § 636 (b)(1)(B).

I.     BACKGROUND

       Defendants are all charged with aiding and abetting one another to commit 9

counts of extortion in violation of 18 U.S.C. § 2 and 844(e). Indictment [Docket No. 1].

More specifically, the Indictment charged that on nine different occasions between

January and June of 2007, defendants, through the use of the telephone, internet, wire

transfers and other instruments of interstate or foreign commerce, threatened and

maliciously conveyed false information concerning alleged attempts to kill, injure or

intimidate other individuals. Id.

       A.     The Alleged Extortions

       Before addressing the substance of each defendant’s motion, the Court provides

the following overview obtained from the testimony of FBI Special Agent Michael Dudley

at the motions hearing on July 20, 2010.

       Defendants David Rosetter (“David”) and Laumatafiafia Rosetter (“Fia”) are

husband and wife. Tr. 16. Defendant Vatauomalao Rosetter (“Tau”) is Fia’s sister and

has been adopted by David and Fia as their daughter. Tr. 16-17. Fia and Tau are

Samoan. Tr. 18. The victims of the alleged extortion are the parents of David, Richard

and Joan Rosetter, and David’s sister, Luann Rosetter (collectively “the Rosetters”). Tr.

17.




                                             2
      CASE 0:10-cr-00083-JNE-JSM         Doc. 93     Filed 10/01/10    Page 3 of 56




       In early 2005, David’s parents went to visit David in San Diego, California, where

he was stationed as an officer in the United States Navy. Tr. 19. During this trip,

David’s parents were led to believe that Fia had a relative in the Samoan Mafia named

“Papa Mo,” “Big Mo” or “Uncle Mo.”1 Tr. 17. Tau, Fia and David also told the David’s

parents that Tau had a workers’ compensation lawsuit dispute with Wal-Mart, and that

she was going through a nasty divorce with her husband. Tr. 17. The parents were led

to believe that Wal-Mart was possibly surveilling the Rosetters as a family. Tr. 18-19.

       David was subsequently transferred by the Navy from San Diego to Norfolk,

Virginia. Tr. 19. On the trip from California to Virginia in November of 2005, David, Fia,

their two children, and Tau stopped in Rapid City, South Dakota, where Luann lived. Tr.

20. David had first called Luann and told her that the Rosetter family was in trouble,

and that she should keep an eye out for strange things. Tr. 20. Once they arrived,

David, Tau and Fia told Luann that the Wal-Mart attorneys and the attorneys for Tau’s

husband in the divorce had gotten together and hired a Mexican gang called the

“Burritos” to harass, stalk and kill the Rosetter family. Tr. 20. They also told Luann that

the family was in danger, and they needed to get their parents from Minnesota to Rapid

City as soon as possible. Tr. 20. Luann relayed the story and got her parents to come

to Rapid City. Tr. 20.

       For the next two weeks, the Rosetters ran around Rapid City thinking they were

being pursued by hitmen. Tr. 20. The Rosetters were also informed by David, Fia and

Tau that Uncle Mo and the Samoan Mafia were also in Rapid City to protect the

Rosetter family. Tr. 21. During these two weeks, the Rosetters were led to believe that

1
       Agent Dudley uses “Papa Mo” and “Uncle Mo” interchangeably throughout his
testimony to refer to the same person.


                                            3
      CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10   Page 4 of 56




the Samoan Mafia was engaged in battles with the hitmen, and the Rosetters were

alerted to the impending attacks by the Burritos by phone calls from Uncle Mo. Tr. 21.

The phone calls were always taken by Tau or Fia – no one else ever spoke to Uncle

Mo, saw the Samoan Mafia or Uncle Mo, saw the hitmen or evidence from the battles,

but the Rosetters were told they existed and believed they existed. Tr. 21.

      The Rosetters purchased guns while they were in Rapid City and went to a

shooting range and practiced shooting. Tr. 22. Furthermore, the Rosetters were told

that Uncle Mo and the Samoan Mafia had uncovered another plot by some Rapid City

contractors who were working on Luann’s home and these contractors were plotting to

kill Luann and steal her home. Tr. 22. After a couple of weeks of running around Rapid

City, Uncle Mo communicated through Tau and Fia that the family should caravan back

to Minnesota, which they did. Tr. 22. Luann also went to Minnesota, leaving her job in

Rapid City. Tr. 22.

      After arriving in Granite Falls, Minnesota, where the Rosetters lived, Tau returned

to California, and Fia and David sat down with the Rosetters and told them what Uncle

Mo wanted them to do to protect themselves. Tr. 23. These steps included Luann

changing her name, getting rid of all of the family vehicles, changing their appearances,

making structural changes to the house (such as putting metal plates in the attic so that

they could be protected from bullets shot through the ceiling), and getting rid of the

family dog because he was recognizable. Tr. 23. They were also told that Uncle Mo

was going to put them under electronic and physical surveillance for their own

protection. Tr. 23. The Rosetters followed all of these directions. Tr. 23. David and

Fia went on to Norfolk after a couple of days. Tr. 24-25.




                                            4
      CASE 0:10-cr-00083-JNE-JSM        Doc. 93      Filed 10/01/10   Page 5 of 56




      During 2006, the Rosetters lived reclusively.      Tr. 23.   The parents obtained

concealed-to-carry weapons permits and carried guns. Tr. 23. Luann stayed in hiding;

she never returned to Rapid City and sold her house. Tr. 23. When Luann went to a

courthouse in Minnesota to change her name, she hid in the back of a truck with a

blanket over her so she could not be seen. Tr. 24.

      In January of 2007, David made a phone call to the Rosetters telling them that

Uncle Mo was angry at him, and that he needed them to wire money. Tr. 25. The

Rosetters made several wire transfers in January. Tr. 26.

      Towards the end of April 2007, Tau emailed the Rosetters saying that David did

something that made Uncle Mo angry. Tr. 26. Tau followed up with a phone call in

which she told the Rosetters that David had fathered a child with a stripper from Guam,

that he had been using his and Fia’s financial resources to care for this other woman

and child, and therefore, Fia and David’s sons were in need of money. Tr. 26. Uncle

Mo was upset about this because Fia was made to suffer financially and because the

family’s honor was damaged by what David had done. Tr. 26. The Rosetters were told

they needed to send money to pay credit card debts and other expenses. Tr. 26.

David’s father suggested that perhaps the best thing to do would be to file bankruptcy,

which led to Uncle Mo sending graphic and threatening emails to the Rosetters, telling

them to send large sums of money or face dire physical consequences to themselves

and to their extended family. Tr. 27. These emails continued through the beginning of

June 2007. Tr. 27.

      As of June 2007, the Rosetters had sent approximately $180,000 and had no

more money, so they tried to get loans from the bank. Tr. 27. The bank wanted to




                                           5
      CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 6 of 56




know how they intended to use the money and the Rosetters were afraid to tell them.

Tr. 27. The Rosetters finally told the banker they were being extorted, and the banker

contacted the authorities. Tr. 28.

      Through the course of investigation, the FBI discovered that Uncle Mo, the gang

known as the Burritos, and the illegitimate child of David Rosetter, were all fiction. Tr.

28.

      B.     Search Warrants

      During the course of the Government’s investigation, agents interviewed the

Rosetters and learned that they had received a number of emails from Uncle Mo and

the defendants. Based on those interviews, during 2007 and 2008, five search warrants

for email accounts associated with defendants were issued. See Gov’t Exs. 1A, 2-4, 5. 2

      C.     The Interviews of Defendants

      In January 2009, Agent Dudley and Agent Jeff Stankevitz interviewed David, Fia

and Tau in Hawaii, where David had been transferred from Norfolk. Tr. 28.

      Agent Dudley first contacted David on January 14, 2009, at David’s office on the

Naval Base in Pearl Harbor, Hawaii at approximately 8:30 a.m. Tr. 29. Agent Dudley

identified himself and explained that he had some questions about David’s involvement

with Papa Mo or Uncle Mo and the Samoan Mafia. Tr. 29. David said he did not know

Papa Mo or anything about the Samoan Mafia. Tr. 30. Agent Dudley then confronted

David with a number of emails which had been sent to David at his Navy email account



2
       At the motions hearing, Government Exhibits 1 and 5 were submitted as copies
of search warrants that were signed on June 26, 2008, but those copies did not have
the signature of the judicial officer. Exhibits 1A and 5A, which are copies of the same
warrants but which contain the signature of the judicial officer, were submitted by the
Government to the Court after the hearing.


                                            6
      CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10   Page 7 of 56




from Papa Mo, at which point David cooperated. Tr. 30-31. David said he had never

met Papa Mo or seen him, but that Papa Mo had been giving him instructions and that

David had always followed these instructions, including making calls and asking for

money or during one call to his family, telling them that he was dying of cancer. Tr. 31.

David felt under threat from Uncle Mo to make these calls. Tr. 31.

      Agent Dudley was alone with David initially in David’s office, and was then joined

by Agent Stankevitz. Tr. 31. At no time did Agent Dudley tell David that he had to

speak with him. Tr. 31. David never exhibited any hesitation talking to Agent Dudley,

was cooperative, and answered all of Agent Dudley’s questions. Tr. 32.

      Agent Dudley was at David’s office for a little less than an hour, after which the

interview was moved to the Naval Criminal Investigative Service (“NCIS”) office,

approximately 20-30 minutes away from David’s office. Tr. 32. The interview was

moved to NCIS after David and Agent Dudley discussed the fact that David conducted

business at his office, and there would be phone calls and people dropping by. Tr. 33.

Agent Dudley suggested moving the interview because it would take another couple of

hours to complete. Tr. 33. Agent Dudley asked if David was willing to go to the NCIS

office, where there would be more privacy, and David agreed. Tr. 33. David told his

secretary that he would be showing Agents Dudley and Stankevitz a few of the sights

around the base. Tr. 33. David never objected to leaving his office and going to the

NCIS office. Tr. 33.

      After arriving at the NCIS office, David went to the restroom and got some water,

and they went into a large conference room.        Tr. 34.   The conference room was

approximately 40 feet long and contained a 20-foot-long table. Tr. 34. The door to the




                                           7
      CASE 0:10-cr-00083-JNE-JSM             Doc. 93    Filed 10/01/10     Page 8 of 56




room was open, and the only people in the room were Agents Dudley and Stankevitz

and David. Tr. 34. Agent Dudley was dressed down and his sidearm was concealed.

Tr. 34.

          When they first arrived at the NCIS office, Agent Dudley explained that he

wanted to go into more detail about the scheme, and reviewed with David that David

was there voluntarily, and that any statements he made would be voluntary. Tr. 35.

          During the interview, David made a written statement.          Gov’t Ex. 9.      Agent

Dudley helped guide David in writing his statement and made suggestions. Tr. 79.

          Prior to making the written statement, Agent Dudley followed his standard

protocol for people who are giving statements:

          Q. What is that protocol?

          A. Well, I've got kind of a standard spiel that I give them when I tell them
          about their opportunity to make a written statement. I tell them that I'm
          going to write a report in which I put down, you know, my version of what
          is said of what they told me. And I said, If you want the opportunity to write
          a written statement in your own hand about what you told me, you know,
          both pro and con, then this is your opportunity. You don't have to do it. But
          if you want to do it, you can.

Tr. 36-37. Agent Dudley noted in his FBI 302 Report that he had informed David that

“this was his opportunity to respond. This statement was voluntary.” Tr. 94.

          David was left alone on numerous occasions at the NCIS office while the agents

ran out and did other things, and talked to people outside of David’s presence. Tr. 34.

David had a cell phone with him. Tr. 35. There were not many people around the

office. Tr. 34.

          During the course of David’s contact with the agents, he was not threatened, the

agents made no promises to him other than that they would pass along his cooperation




                                                8
      CASE 0:10-cr-00083-JNE-JSM        Doc. 93     Filed 10/01/10    Page 9 of 56




to prosecuting authorities, the tone was conversational, David did not appear under the

influence of drugs or alcohol, he was never handcuffed, and he was never arrested. Tr.

38, 62. David never asked to stop the interview or to speak to an attorney. Tr. 38.

      David received a phone call from Fia during the interview, asking him to pick up

his son. Tr. 39. After the interview, the agents transported David back to the Base

around 1:00 p.m., where David and another agent, Vaughn Roe, drove in David’s car to

pick up David’s son. Tr. 37, 39, 95. Agent Roe accompanied David because Agent

Dudley was concerned that David would call Fia and warn her that the Agents Dudley

and Stankevitz were coming to speak with her.         Tr. 39-40.     Agents Dudley and

Stankevitz planned to go to David’s house to see Fia, and if Fia was cooperative, to

interview her at the NCIS office rather than at home where kids were running around.

Tr. 40. Agent Dudley asked David if he would mind if an agent rode along with David to

pick up his son, and David said he did not mind. Tr. 40. David agreed to return to the

house to watch the children, and was waiting for a call from the agents before returning

home. Tr. 40.

      Agents Dudley and Stankevitz went to David and Fia’s house around 1:00 p.m.,

knocked on the door, and identified themselves as FBI agents when Fia answered the

door. Tr. 41. Fia was home with a small child. Tr. 41. Special Agent Lockley with

NCIS waited outside the home. Tr. 97. Agents Dudley and Stankevitz told Fia they had

spoken with David and that they had some questions for her. Tr. 41. Fia invited the

agents into the house and they sat down with her in the living room. Tr. 41. Her

preschool-age son was present.      Tr. 96-97.    The agents explained that they were

concerned about Papa Mo and the emails giving David directions. Tr. 41. Fia said that




                                           9
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10   Page 10 of 56




David had been sort of crazy since he returned from Iraq, and none of the story was

true. Tr. 42. Fia also said that David’s family interfered with their marriage, and that

there were no financial issues and no financial interaction between David and his

parents. Tr. 42.

      After speaking with the agents for a little less than a half hour, Fia prepared a

written statement, denying knowing Uncle Mo and denying any financial difficulties. Tr.

42-43. Gov’t Ex. 6. Agent Dudley wrote out the statement and Fia signed it. Tr. 85-86;

Ex. 6. After Fia made the statement, the agents confronted her with evidence at odds

with the statement, such as records of wire transfers from the Rosetters to Fia,

threatening emails received by the Rosetters that were signed by Papa Mo or Uncle Mo,

and a tape-recording between Fia and Luann Rosetter referring to Papa Mo. Tr. 43.

The tape recorded conversation between Fia and Luann was made by Luann in Granite

Falls, Minnesota upon the request of Agent Dudley. Tr. 44. The conversation was

recorded on June 22, 2007. Tr. 83.

      After presenting the evidence of the extortion plot to Fia, Agent Dudley asked if

Fia could guess the IP address of the emails signed by Papa Mo, and she stated that

the address would return to her residence and that she did it. Tr. 44. At that point, Fia

admitted that everything she had denied was true, the events that occurred in Rapid

City were true, and she and her sister had concocted the story of the Guam stripper

because they needed money and they hated the Rosetters because they were racist

and had treated them poorly. Tr. 45. This confession was reflected in a second written

statement made by Fia at the NCIS office. Tr. 46; Gov’t Ex. 7.




                                           10
      CASE 0:10-cr-00083-JNE-JSM        Doc. 93    Filed 10/01/10    Page 11 of 56




       The agents decided to go to the NCIS office so that David could return his son to

his home, and because they did not want to try to take a statement from Fia with kids

running around. Tr. 47. Consequently, they asked Fia if she had any objection to

continuing the interview at NCIS and she said she had no objection and was willing to

accompany the agents to NCIS. Tr. 47. The agents and Fia waited at the house until

David returned. Tr. 47. While waiting, Fia offered the agents a bottle of water and

received a phone call from Tau. Tr. 48. Fia told Agent Stankevitz that she informed

Tau that the FBI was there and she was speaking to them. Tr. 48.

       Fia, Agent Dudley and Agent Lockley rode together in a car to the NCIS office;

the car was a regular, non-squad car without a cage inside. Tr. 48, 98. Fia was not

under arrest at that time. Tr. 49. Agent Dudley and Fia chatted about the case on the

way to the NCIS office, the tone of the conversation was chatty, and Fia chuckled over

some of the things they had pulled on David. Tr. 49. Fia agreed that her husband was

not very bright. Tr. 49.

       Agent Dudley could not recall whether the NCIS office was in an area of the

Naval Base where credentials were necessary, but recalled a security checkpoint at

which he showed his identification. Tr. 90, 93.

       After arriving at the NCIS office, Agent Dudley asked if Fia was interested in

providing a written statement. Tr. 49. Using the same protocol he had used with David,

Agent Dudley told Fia that providing a written statement was voluntary and she did not

have to do it; he recorded the use of the “written statement spiel” in his FBI 302 report

by indicating that he had told her that “it was voluntary. If she wanted to make a

statement, she could. She didn’t have to.” Tr. 49-50, 100. As he had done at the




                                           11
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93     Filed 10/01/10   Page 12 of 56




house, Agent Dudley told Fia that it was a serious matter that would be turned over to a

prosecutor to look at for criminal charges, and again asked Fia if she wanted to give her

version, and she said she did. Tr. 50.

      Fia provided the second written statement which she wrote out herself. Gov’t Ex.

7; Tr. 50, 86. If any changes were made during the writing of the statement, both Fia

and Agent Dudley initialed the changes.          Tr. 87.   Agent Dudley also signed this

statement at the bottom. Tr. 87.

      The agents did not anticipate that Fia’s interview would last as long as David’s,

and the conference room that was used for David’s interview was being used. Tr. 50.

As a result, Fia’s interview took place at the NCIS office in a small room, about ten feet

by ten feet. Tr. 50. At no time did Fia ask for an attorney or ask that the questioning

stop. Tr. 51. The agents did not threaten Fia, use physical coercion or make any

promises other than to tell her that the agents would pass along her cooperation to

prosecuting authorities. Tr. 51, 62. The agents told Fia she could go to the restroom

and she could get a snack, but never told her she could leave or that she was free to

go. Tr. 100. Agent Dudley agreed that if Fia got up and started walking out the door,

she would still be inside the secure NCIS facility, and as she did not drive, she would

need someone to drive her home or she would have to walk a distance that would take

a half hour to drive. Tr. 100-01. However, given Fia was a spouse of someone in the

military, Agent Dudley did not know whether she had a military ID which would allow her

to get through the military checkpoint. Tr. 101.

      Fia was extremely cooperative, friendly and cordial throughout the interviews at

the house and at the NCIS office. Tr. 52. She told Agent Dudley she was thankful for




                                            12
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 13 of 56




pointing out to her that her hatred of the Rosetters had come back to hurt her children.

Tr. 52. Fia did not appear to be under the influence of drugs or alcohol, tracked the

conversation, and spoke excellent English without any need for a translator. Tr. 53.

      Realizing that he had two conflicting sworn statements from Fia, Agent Dudley

asked Fia if she would provide a third statement making clear that her first statement

contained lies and her second statement contained the truth. Tr. 53. Fia wrote out the

third statement. Tr. 54; Gov’t Ex. 8. Agent Dudley told her to put in the third statement

which of the first two statements was true and which was false. Tr. 85.

      The agents asked Fia if she thought Tau would be willing to come and give as

statement as well, and Fia said she thought Tau would. Tr. 55. Because Fia believed

Tau would not answer a number she did not recognize, Fia suggested that David could

call Tau and give her Agent Dudley’s number to call, which is what occurred. Tr. 55.

When Agent Dudley received the call, he gave the phone to Fia, who spoke to Tau in

Samoan and she then gave the phone back to Agent Dudley, who asked Tau if she

would be willing to come and discuss Papa Mo and the Rosetters. Tr. 55-56. Tau said

she would come talk to them. Tr. 56.

      Tau was not sure where the NCIS office was located, so she went to David and

Fia’s home and followed Agent Stankevitz to the NCIS office in her own vehicle. Tr. 56,

112. Agent Dudley did not know or think about whether Tau had military identification or

whether she would be able to get into the NCIS facility without Agent Stankevitz. Tr.

103, 112.

      After Fia’s interview, the agents asked Fia if she wanted to leave and go walk

around or what she wanted to do; she asked if the NCIS agent and Agent Dudley would




                                           13
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93     Filed 10/01/10    Page 14 of 56




stay with her in the room and continue talking to her while they waited for Tau to arrive.

Tr. 54-55.

       The agents were chatting with Fia when Tau arrived around 5:00 p.m. Tr. 57.

Fia waited for Tau and took a nap in the waiting room because Tau was going to give

her a ride home. Tr. 57. No agents waited with Fia while Agents Dudley and Stankevitz

were speaking with Tau. Tr. 58.

       During the interview with Tau, Agent Stankevitz took the lead. Tr. 58. The

interview was conducted in the same room as Fia’s interview. Tr. 59. The agents made

it clear to Tau early on in the interview that it was a criminal investigation and she might

get charged. Tr. 60. Prior to Tau providing her written statement, Agent Dudley used

the same protocol to inform her that her statement was voluntary.

       Q. And I apologize if you already testified to this, but did you go through
       that same spiel that you already testified about as to Fia Rosetter?

       A. Yeah. I gave Tau the same spiel, that, you know, this was her chance
       to put it in her words the way she wanted it told, that we were going to do
       a report, and that's where -- you know, I told her that she didn't have to,
       and she kept saying, "I want to cooperate." She repeated numerous times
       throughout the interview, "I want to cooperate fully." "I want to be fully
       cooperative. And we repeated the fact that, you know, criminal charges
       could result but that we weren't the ones to make that decision, but she
       should know that could happen.

Tr. 61-62. Agent Dudley admitted there was no mention in the FBI 302 report that he

had given her this spiel and that was an error. Tr. 107-08.

       Tau was extremely cooperative, and seemed eager to tell the agents about what

the Rosetters had put her family through in terms of racism.          Tr. 59.   Tau readily

admitted her role, which was basically hatching the scheme, and confirmed sending an

email to the Rosetters by initialing a copy of the email given to her by Agent Stankevitz.




                                            14
      CASE 0:10-cr-00083-JNE-JSM           Doc. 93     Filed 10/01/10   Page 15 of 56




Tr. 59-60. Tau also gave a written statement. Tr. 60; Gov’t Ex. 10.           Agent Dudley

suggested that Tau could note in her statement how she had been treated by the

agents generally, and Tau wrote:

          I, Vatau Tafaoa, was treated very fairly and equally in every way by the
          FBI agents, Mr. Mike and Mr. Geoff. They were very straight forward and
          to the point and they both did it with utmost respect for the individual and
          very truthfully, in other words, “straight-up” with me at all times.

Gov’t Ex. 10, p. 4.

          Agent Dudley dictated the last sentence to Tau, which declared that the

statement was true and correct made under penalty of perjury. Tr. 109; Gov’t Ex. 10.

Tau finished the interview around 6:30 p.m., and most of the time she spent at the NCIS

office was writing out the statement. Tr. 61.

          Tau never asked for an attorney, to terminate the interview, or stop the interview.

Tr. 62. Tau was not threatened, and no promises were made to her other than that the

agents would pass along her cooperation to prosecuting authorities. Tr. 62. However,

prior to giving the interview, Agent Dudley never told Tau that she could leave at any

point, she was free to leave, she could take Fia and go home, or she could contact an

attorney. Tr. 106-07.

          Tau spoke English well, responded appropriately to questioning, and did not

appear to be under the influence of drugs or alcohol. Tr. 63. Tau informed the agents

that Fia told her to be straight with the agents and that the agents had treated her well.

Tr. 63.

          Agent Dudley testified that after the interviews concluded, he was concerned

about David because in one day, David had learned that there was no Papa Mo, that his

wife had extorted $180,000 out of his parents, and the incidents in Rapid City were



                                              15
      CASE 0:10-cr-00083-JNE-JSM        Doc. 93   Filed 10/01/10    Page 16 of 56




concocted to make fun of the Rosetter family. Tr. 64. Agent Dudley made temporary

arrangements for David to stay elsewhere for a couple of nights, and Agent Dudley

suggested to Fia that he accompany her back to the house and put things in

perspective before David left for the temporary housing. Tr. 65. Fia agreed that was a

good idea. Tr. 65. Tau and Fia drove back to the Rosetter residence in Tau’s vehicle,

and Agents Dudley and Stankevitz followed in another car. Tr. 65. To leave the Base,

Fia and Tau had to go through the security checkpoint. Tr. 111.

       Once everyone arrived at David and Fia’s house, Tau took the children into

another room and David, Fia and the agents sat down in the living room. Tr. 65. Fia

told David about extorting his parents and why she had done it, and David was

emotional as he heard it. Tr. 65. The meeting lasted approximately a half hour. Tr. 65.

David made no incriminating statements, and Fia’s comments to David were consistent

with what she had told Agent Dudley earlier. Tr. 66.

       The following day, January 15, 2009, Agents Dudley and Stankevitz stopped at

the Rosetter residence to see how things were going, and Fia answered the door and

said that maybe she should not speak with them until she got an attorney. Tr. 67. The

agents left. Tr. 67.

       On January 16, 2009, Tau called Agent Dudley. Tr. 67. Agent Dudley returned

the call while he and Agent Stankevitz were waiting for a flight at the airport. Tr. 68.

Tau informed Agent Dudley that she was leaving Hawaii to go back to Samoa because

she had never planned on living permanently in Hawaii, and said that if the agents

needed anything, she could be reached at her cell phone number. Tr. 68.




                                          16
      CASE 0:10-cr-00083-JNE-JSM        Doc. 93     Filed 10/01/10    Page 17 of 56




      As to all three defendants, Agent Dudley testified that prior to their interviews, he

informed each of them that they did not have to speak with him and asked each of them

if they were willing to speak with him, he did not place anyone under arrest at the

conclusion of the interviews, and he never handcuffed anyone.          Tr. 66-67.   Agent

Dudley also testified that was aware that David had a degree from Iowa State University

and was a Lieutenant Commander in the Navy, that none of the defendants had any

criminal history, and that Tau and Fia had a brother who was a police officer in

Honolulu. Tr. 69.

      In response to the Court’s questioning, Agent Dudley stated that he did not

provide the Miranda rights to defendants prior to interviewing them because they were

not under arrest. Tr. 113.

II.   MOTIONS TO SUPPRESS EVIDENCE

      Agent Geoffrey W. Stankevitz submitted five separate applications for search

warrants for email accounts associated with defendants. Gov’t Exs. 1A, 2-4, 5A. Each

of these search warrants sought the identical computer files: all electronic mail

contained in the email addresses or on behalf of the individuals for the email accounts;

existing printouts of original email; transactional information associated with the email

addresses, accounts or individuals, including user connection logs, connection

information for other systems to which users connected, ports accessed, dial-up

numbers accessed, purchases made, websites visited and services or information

accessed through personalized home pages; all business records and subscriber

information pertaining to the email address and to any email subscriber who sent a




                                           17
      CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10      Page 18 of 56




message to or received a message from the email address, and any address books,

buddy lists or other stored files or documents associated with the accounts. Id.

       David and Fia maintained that all five warrants must be suppressed grounds that

they lack sufficient facts to establish probable cause. Tau, on the other hand, objected

to the warrants on grounds that they failed to describe the items to be seized with

sufficient particularity.   The Court first addresses the probable cause arguments by

David and Fia and then examines Tau’s challenge of particularity. The parties agreed

that their respective motions can be resolved based on the four corners of the warrants

and applications.

       A.      August 7, 2007 Warrants

       The first two warrants in this case were submitted by Agent Stankevitz to and

signed by the undersigned on August 7, 2007. Gov’t Exs. 3 and 4. One warrant sought

to search the email accounts of aeto.iseula@yahoo.com, fia.rosetter@yahoo.com, and

tdawg05@yahoo.com as controlled by Yahoo! Inc. Gov’t Ex. 3. The other warrant

sought to search the email account of drosetter@gmail.com as controlled by Google

Inc. Gov’t Ex. 4. These two warrants attached identical affidavits setting forth the basis

for the search warrants, which provided in pertinent part as follows:

                       BACKGROUND OF FRAUDULENT SCHEME

       10. During the course of this investigation, agents have interviewed
       Richard Rosetter ("Richard"), his wife, Joan Rosetter (" Joan") and their
       daughter, Luann Rosetter ("Luann"). Through these interviews, agents
       have determined that in or about January 2005, Richard and Joan, both of
       Granite Falls, Minnesota, visited their son, David Rosetter ("David"), and
       his wife, Laumatafiafia Rosetter ("Fia"), at their home in San Diego,
       California, for several weeks. During their visit, Richard and Joan were
       introduced to "Tau" (last name unknown), who was introduced as Fia's
       sister and who had come to live with David and Fia after she divorced her
       husband. David, Fia, and Tau told Richard and Joan that employees of



                                            18
CASE 0:10-cr-00083-JNE-JSM       Doc. 93    Filed 10/01/10    Page 19 of 56




Wal-Mart were conducting surveillance on everyone in the family. They
said that Wal-Mart was trying to avoid paying a workers compensation
claim to Tau, who had allegedly injured her foot while working for Wal-
Mart.

11. In September 2005, Luann, who lived in Rapid City, South Dakota,
received a telephone call from David. During the conversation, David told
Luann that Wal-Mart employees wanted to kill him and their parents
because he had helped Tau take Wal-Mart to court over the failure to pay
a workers compensation benefit. David said that Tau had been working at
Wal-Mart and had broken her foot after falling off a ladder. David said that
Tau had been overworked, would be on disability for the rest of her life,
and that Wal-Mart would rather kill her than pay the claim. David told
Luann that she should "watch her back," because she was also in danger.
He told her that she should check the brake lines on her pickup truck to be
sure that Wal-Mart employees had not cut them.

12. In November 2005, David, Fia, and Tau visited Luann' s home in
Rapid City. They convinced her that "hit men" had been hired by Wal-Mart
to kill the entire family. They also said that, because Tau and Fia were
American Samoans, the Samoan Mafia was secretly following the family in
order to protect them from the hit men. They said the Samoan Mafia was
headed up by a person named "Uncle Mo."

13. During their visit, David and Fia placed a telephone call to Richard and
Joan at their home in Granite Falls and told them that they were in grave
danger from Wal-Mart hit men. They instructed them to leave their farm in
Minnesota at once and travel to Luann's home in Rapid City. David and
Fia told them that they had only 20 minutes or they would be killed.
Richard and Joan immediately packed their bags and drove to Rapid City.
When they arrived at Luann's home, David and Fia told them that "Uncle
Mo" had said that they barely escaped with their lives and that the
Samoan Mafia killed two Wal-Mart hit men. For the next week, David, Fia
and Tau kept Richard, Joan and Luann constantly on the move in Rapid
City traveling from different meeting spots and hotels ostensibly to evade
the Wal-Mart hit men who were allegedly closing in on them.

14. After the visit in November 2005, and for the next year, David, Fia, and
Tau continued to perpetuate the story of the WalMart hit men, "Uncle Mo,"
and his Samoan Mafia protectors. During this time, they told Luann to
leave Rapid City, quit her job, change her name, get rid of her dog, and
buy a new car. They told Richard and Joan to replace their car and motor
home and change their physical appearances. They were repeatedly told
by David, Fia, and Tau that Wal-Mart hit men were trying to kill them and
that they should avoid being seen in public. During this time, Luann lived




                                    19
CASE 0:10-cr-00083-JNE-JSM         Doc. 93     Filed 10/01/10     Page 20 of 56




with her parents in secret and hid under blankets in the car when Richard
and Joan drove on and off of the property.

15. In January 2006, David called Luann and told her that she could sell
her house in Rapid City, but that she would only be able to take a few
belongings because the Samoan Mafia could only protect her for 30
minutes. Luann and Richard then drove to Rapid City and filled Luann's
car with a few trash bags full of belongings before they returned to
Minnesota. Luann then sold her house, and all the property inside it, for
pennies on the dollar.

16. In January 2007, David made numerous phone calls to Richard, Joan
and Luann. During these calls, David demanded money and repeatedly
mentioned that he had made some sort of mistake, that his life was being
threatened, and that the only way out was "6 feet under." David told
Richard, Joan and Luann not to ask any questions and that if they did not
send him the money, he and the Rosetter family would be killed. During
the month, Richard, Joan and Luann wired a total of $7,147 to David.

17. From January 2007 through June 2007, Fia called Richard, Joan and
Luann on numerous occasions and explained that David had embarrassed
her family and that "Uncle Mo" was angry and would kill David as well as
Richard, Joan, and Luann if money was not paid to Fia to cover the
alleged debt that David had incurred.

USE OF E-MAIL ACCOUNTS TO EFFECT THE FRAUDULENT SCHEME

18. On or about April 23, 2007, Tau called Luann and asked for her e-mail
address. Tau told her that she had a lot to update Luann and her parents
about and said that it would be easiest to do so in an e-mail message.

19. On April 23, 2007, Luann received an e-mail purportedly from Tau
from tdawg05@yahoo.com. (I have reviewed a copy of this e-mail as well
as the other e-mails referenced below.) Luann wrote that "Uncle Mo" and
the Samoan Mafia had discovered that David had an affair with an exotic
dancer and, as a result, had a child out of wedlock. She also wrote that
David had left Fia to be with the dancer and had amassed a huge amount
of credit card debt. Because of this embarrassment, the Samoan Mafia
was extremely angry with David and determined that he and his family
would be held responsible. Tau wrote that "Uncle Mo" and the Samoan
Mafia had given David instructions to repay his debt to the family and that
"IF David does not follow "Uncle Mo's" instructions THEN him and his
family (you and your parents) will suffer the consequences-' swimming
with the fishes' . " (The capital lettering appeared in the original as with the
other e-mails referenced below. ) The family was given a deadline of April
23, 2007, at 10:30 a.m. to payoff the credit card debt. If the credit card



                                      20
CASE 0:10-cr-00083-JNE-JSM      Doc. 93    Filed 10/01/10   Page 21 of 56




was not paid off, "HE AND HIS FAMILY (YOU AND YOUR PARENTS)
WILL BE 'DEALT WITH IMMEDIATELY'."

20. On April 25, 2007, Richard and Luann received an e-mail purportedly
from Fia from fia.rosetter@yahoo.com. Fia wrote that David had left her
with a huge amount of debt and was afraid to tell "Uncle Mo" about it.

21. On April 28, 2007, Richard and Luann received an e-mail purportedly
from Fia from fia.rosetter@yahoo.com. The e-mail stated she had been
embarrassed and left in financial ruin because David had left her for
another woman. She asked Richard and Luann to send her money.

22. On May 18, 2007, Luann received an e-mail purportedly from "Uncle
Mo" from aeto.iseula@yahoo.com. When referring to David, "Uncle Mo"
stated that the Samoan Mafia had come to the conclusion that they must
"'FINISH HIM OFF' COMPLETELY. HENCE IT MEANS SLEEPING WITH
THE FISHES." The e-mail goes on "UNFORTUNATELY IT LOOKS VERY
GRIM FOR ALL OF YOU TOO. WHY? BECAUSE HIS FATE IS ALSO
YOUR FATE. YES, DAVID IS WELL AWARE THAT WHATEVER HE
DOES WILL HAVE CONSEQUENCES UPON HIMSELF. AS WELL AS
ALL OF YOU (GRAMPS, GRANDMA AND SWEEPY)." (Investigation
reveals that these nicknames relate to Richard, Joan and Luann,
respectively.) The e-mail concluded by demanding $164,000 to cover the
debt allegedly incurred by David.

23. On May 18, 2007, Luann received another e-mail purportedly from
"Uncle Mo" from aeto.iseula@yahoo.com. In the email, "Uncle Mo"
instructed Luann and Richard to contact David using drosetter@gmail.
com in order to hear directly from David about the trouble he had caused.
The e-mail reiterated the deadline to gather the money or they would
"IMMEDIATELY FINISH HIM OFF NOW. AN EYE FOR AN EYE'"

24. On May 18, 2007, Luann sent an e-mail to drosetter@gmail.com
asking David to explain himself. Shortly thereafter, Luann received a
response purportedly from David from drosetter@gmail. com stating: "OH
SHIT! Big Mo was not bluffing at all." Luann replied and expressed
concern for David's safety. Shortly thereafter, Luann received another e-
mail from drosetter@gmail.com stating: "Why should I do what Big Mo
tells me?! I'm in love with my Chamorro (Guam) girlfriend and we have a
daughter together." The e-mail also contained a photograph depicting a
scantily dressed woman exposing her breasts.

25. On May 21, 2007, Luann received another e-mail purportedly from
"Uncle Mo" from aeto.iseula@yahoo.com which demanded an additional
$120,000 to payoff a condominium which would save the lives of Richard,
Joan, Luann and David.



                                   21
CASE 0:10-cr-00083-JNE-JSM      Doc. 93    Filed 10/01/10    Page 22 of 56




26. On May 27, 2007, Luann received another e-mail purportedly from
"Uncle Mo" from aeto.iseula@yahoo.com demanding that all money they
required from Richard, Joan and Luann be paid immediately. The e-mail
stated that "DAVID'S DEBTS HAVE TO PAID NOW" and "YOUR
OPTIONS ARE GETTING SLIMMER AND SLIMMER AT THIS POINT.
YES EITHER DO OR DIE FOR ALL OF YOU!"

27. From May 27, 2007, until June 22, 2007, Luann received numerous
other e-mails purportedly from "Uncle Mo" from aeto.iseula@yahoo.com.
In these e-mails, "Uncle Mo" made repeated threats against the lives of
Richard, Joan and Luann and demanded money.

28. On May 28, 2007, Luann received an e-mail purportedly from Fia from
fia.rosetter@yahoo. com. The e-mail stated that "Uncle Mo is not happy at
all!" and that more money was needed to payoff her bills to satisfy him.

29. On June 22, 2007, Luann received an e-mail purportedly from David
from drosetter@gmail.com stating "Yes, I fucked up and I am paying the
price for it" and "I seriously cannot believe you would question Uncle Mo
and his sons."

30. From January 2007 through June 5, 2007, Richard, Joan and Luann
wired a total of $185,000 in pay-offs to David and Fia for moneys
purportedly demanded by "Uncle Mo" and the Samoan Mafia.

31. In July 2007, I obtained subscriber and IP connection information from
Yahoo and Google for e-mail accounts aeto.iseula@yahoo.com,
fia.rosetter@yahoo.com, tdawg05@yahoo.com and drosetter@gmail.com.
This information revealed the following:

      a. The registered name associated with aeto.iseula@yahoo.com is
      "Ms Fia R." The alternate e-mail address provided for the account
      is laumatafiafia@gmail.com. The IP connection logs for aeto.
      iseula@yahoo. com from May 2007 through June 2007 list IP
      addresses      68.115.189.25    and     68.119.168.53.      Through
      investigation, I have discovered that an individual with IP address
      68.119.168.53 has accessed all of the accounts and that this IP
      address belongs to "David R. Rosetter."

      b. The registered name associated with fia.rosetter@yahoo.com is
      "Mrs. Laumatafiafia Rosetter." The IP connection logs for
      fia.rosetter@yahoo.com from May 2007 through June 2007 list the
      same two IP addresses that connected to aeto.iseula@yahoo.com,
      namely 68.115.189.25 and 68.119.168.53.




                                   22
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 23 of 56




             c. The registered name associated with tdawg05@yahoo. com is
             "Ms T DAWG." The alternate email address provided for the
             account is laumatafiafia@hotmail.com. The majority of the
             connections to the account were from IP address 68.119.168.53.

             d. The registered name associated with drosetter@gmai1.com is
             "David Rosetter." The IP connection logs for drosetter@gmai1.com
             from May 2007 through June 2007 list the same two IP addresses
             that       connected     to     aeto.iseu1a@yahoo.com        and
             fia.rosetter@yahoo.com, namely 68.115.189.25 and 68.119.168.53.

      32. Based on the foregoing, there is probable cause to believe that David
      Rosetter, Laumatafiafia Rosetter and Tau (last name unknown) unlawfully,
      knowingly and intentionally devised a scheme and artifice to defraud and
      then transmitted by means of wire in interstate commerce writings for the
      purpose of executing such scheme and artifice in violation of 18 U.S.C. §
      1343.

      33. Based on the foregoing, there is probable cause to believe that in the
      computers, records and documents owned, maintained, and operated by
      Yahoo and Google, there exists evidence of the commission of the above-
      described offense, contraband, the fruits of crime, property designed or
      intended for use and which is and has been used as the means of
      committing the offense, and more particularly described in Attachment A
      (Yahoo) and Attachment B (Google).

Gov’t. Exs. 3 and 4.

      Ordinarily, searches pursuant to a warrant are reviewed to determine if there was

probable cause for the search in the search warrant application and affidavit. Illinois v.

Gates, 462 U.S. 213, 236 (1983). “Probable cause exists when, given the totality of the

circumstances, a reasonable person could believe there is a fair probability that

contraband or evidence of a crime would be found in a particular place.” United States

v. Fladten, 230 F.3d 1083, 1085 (8th Cir. 2000).

      The task of a court issuing a search warrant is “simply to make a practical,

common sense decision whether, given all the circumstances set forth in the affidavit…

including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay




                                           23
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93    Filed 10/01/10    Page 24 of 56




information, there is a fair probability that contraband or evidence of a crime will be

found in a particular place.” Gates, 462 U.S. at 238. In reviewing this decision of the

issuing court, the duty of the reviewing court is simply to ensure that the court had a

substantial basis for concluding that probable cause existed. Id. at 238-39 (citation

omitted); see also United States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996) (citation

omitted) (“Our duty as the reviewing court is to ensure that the issuing judge had a

‘substantial basis’ for concluding that probable cause existed, and we owe substantial

deference to the determination of probable cause by the issuing judge.”). As to what

this Court should consider when reviewing a search warrant for probable cause, “[w]hen

the [issuing judge] relied solely on the affidavit presented to him, ‘only that information

which is found within the four corners of the affidavit may be considered in determining

the existence of probable cause.’” United States v. Solomon, 432 F.3d 824, 827 (8th

Cir. 2005) (citing United States v Etheridge, 165 F.3d 655, 656 (8th Cir. 1999), quoting

United States v. Gladney, 48 F.3d 309, 312 (8th Cir. 1995)).

       David and Fia submitted virtually identical arguments, arguing that the affidavits

accompanying the warrants signed on August 7, 2007, conclude that there was a

scheme, that the victims were duped, and that defendants propagated a story, without

offering any facts to support the finding that the statements made by defendants were

false, or that the Samoan Mafia was not conducting surveillance of the Rosetters, or

that they were not truly in danger. David’s Mem., p. 3 [Docket No. 88]; Fia’s Mem., pp.

6-7 [Docket No. 87].       Additionally, both defendants argued that the affidavits

accompanying these warrants make the bald assertion of a “fraudulent scheme,”

without any facts to support this assertion. David’s Mem., pp. 3-4; Fia’s Mem., pp. 7-8




                                            24
      CASE 0:10-cr-00083-JNE-JSM         Doc. 93     Filed 10/01/10    Page 25 of 56




On this basis, both David and Fia maintained that there was no probable cause due to

the lack of factual detail to support these conclusions. Id.

       The Court finds David and Fia’s arguments unavailing. Here, the affidavit set out

that agents had interviewed all three victims to an alleged crime – David’s parents,

Richard and Joan, and David’s sister, Luann – and obtained from them information that

during the time period from 2005 through 2007 they had been told that by defendants

that hitmen were trying to kill them, they were being protected by the Samoan Mafia and

Uncle Mo, and that at some point, Uncle Mo and the Samoan Mafia became angry with

David and repeatedly threatened to kill David and the Rosetters if the Rosetters failed to

pay money to Uncle Mo, pay off David’s debts or send money to Fia. In support of their

story, the Rosetters provided to the agents emails that both Luann and Richard had

received from the defendants which described David’s affair with the exotic dancer,

David’s huge debt, threats to kill David and demands for money to cover David’s debts,

a credit card debt, the payment for a condominium and Fia’s bills. The affiant to the

warrants, Agent Stankevitz, reviewed these emails and described their contents in his

affidavit. His independent review and description of the contents of the emails, the wire

transfers of money to David and Fia, and the facts to establish that these emails were

associated with David, Fia and Tau, provided this Court with sufficient information from

which it could reasonably conclude that there was evidence of a crime – i.e. a scheme

and artifice to defraud via wire transfer – within the email accounts of

aeto.iseula@yahoo.com,        fia.rosetter@yahoo.com,          tdawg05@yahoo.com,      and

drosetter@gmail.com.




                                            25
     CASE 0:10-cr-00083-JNE-JSM        Doc. 93    Filed 10/01/10    Page 26 of 56




      David and Fia’s argument that the search warrants must be suppressed because

there were no facts in them to support a finding that the alleged statements by

defendants to the victims were false, misses the mark. Even if the alleged statements

made by defendants as asserted in the warrant applications ultimately were determined

to be true (e.g. there was an “Uncle Mo” or hit men had been hired by Wal-Mart to kill

the family or the Samoan Mafia was actually watching and protecting the Rosetters), the

fact remains that the Rosetters were paying hundreds of thousands of dollars under

threat of harm and death and the situation required investigation by law enforcement.

Most warrants are sought with the objective to investigate complaints of a crime. Here,

the Rosetters were wiring money because they feared for their lives if they did not do

so, and the reason for wiring that money was the alleged statements of defendants

made in person, over the phone and via email to get the money. The purpose of the

warrants was to investigate whether a crime was being perpetrated on the victims, and

included obtaining information to determine if the statements of defendants were true or

not. It was not necessary for Agent Stankevitz to corroborate that the defendants’

alleged statements were lies in order to substantiate probable cause to issue the

warrant.

      Based upon the totality of the circumstances, the Court finds that substantial

evidence existed to support the finding of probable cause to issue the search warrants

for the email addresses.

      B.     September 19, 2007 Warrant

      On September 19, 2007, Agent Stankevitz applied for a search warrant for the

email account mnpalagi@yahoo.com, controlled by Yahoo! Inc.          That warrant was




                                          26
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 27 of 56




signed by United States Magistrate Judge Arthur J. Boylan. Gov’t Ex. 2. The affidavit

attached to the warrant provided in pertinent part as follows:

      10. During the course of this investigation, the FBI has learned that
      Richard Rosetter ("Richard"), his wife, Joan Rosetter ("Joan"), their
      daughter, Luann Rosetter ("Luann"), and their son, David Rosetter
      ("David"), were duped into believing that members of the "Samoan Mafia"
      were conducting surveillance of their family and that the entire family was
      in great danger.

      11. Investigation has revealed that this story was propagated by David's
      wife, Laumatafiafia Rosetter ("Fia"), Fia's sister, "Tau" (last name
      unknown) and unwittingly by David, for the purpose of defrauding the
      family of approximately $185,000 in United States currency.

      12. During an interview of Richard, Joan and Luann on June 14, 2007,
      Luann told the FBI that in September 2005, she received a telephone call
      from David while she was living in Rapid City, South Dakota. During the
      conversation, David told Luann that WalMart employees wanted to kill him
      and their parents because he had helped Tau take Wal-Mart to court over
      the failure to pay a workers compensation benefit. David said that Tau had
      been working at WalMart and had broken her foot after falling off a ladder.
      David said that Tau had been overworked, would be on disability for the
      rest of her life, and that Wal-Mart would rather kill her than pay the claim.
      David told Luann that she should "watch her back," because she was also
      in danger. He told her that she should check the brake lines on her pickup
      truck to be sure that Wal-Mart employees had not cut them.

      13. During the same interview, Luann told the FBI that in November 2005,
      David, Fia and Tau visited Luann's home in Rapid City. They convinced
      her that "hit men" had been hired by Wal-Mart to kill the entire family. They
      also said that, because Tau and Fia were American Samoans, the
      Samoan Mafia was secretly following the family in order to protect them
      from the hit men. They said the Samoan Mafia was headed up by a
      person named "Uncle Mo."

      14. During the same interview, Luann, Richard and Joan told the FBI that
      when David, Fia and Tau visited Luann in November 2005, David and Fia
      placed a telephone call to Richard and Joan at their home in Granite Falls
      and told them that they were in grave danger from Wal-Mart hit men.
      David and Fia instructed Richard and Joan to leave their farm in
      Minnesota at once and travel to Luann's home in Rapid City. David and
      Fia told them that they had only 20 minutes to leave, or they would be
      killed. Richard and Joan immediately packed their bags and drove to
      Rapid City. When they arrived at Luann's home, David and Fia told them



                                           27
CASE 0:10-cr-00083-JNE-JSM        Doc. 93    Filed 10/01/10    Page 28 of 56




that "Uncle Mo" had said that they barely escaped with their lives and that
the Samoan Mafia killed two Wal-Mart hit men. For the next week, David,
Fia and Tau kept Richard, Joan and Luann constantly on the move in
Rapid City traveling from different meeting spots and hotels ostensibly to
evade the Wal-Mart hit men who were allegedly closing in on them.

15. During the same interview, Richard, Joan and Luann told the FBI that
after the visit in November 2005, and for the next year, David, Fia and Tau
perpetuated the story of the Wal-Mart hit men, "Uncle Mo," and his
Samoan Mafia protectors. They told Luann to leave Rapid City, quit her
job, change her name, get rid of her dog, and buy a new car. They told
Richard and Joan to replace their car and motor home and change their
physical appearances. David, Fia and Tau repeatedly told them that Wal-
Mart hit men were trying to kill them and that they should avoid being seen
in public. Luann said that during this time, she lived with her parents in
secret and hid under blankets in the car when Richard and Joan drove on
and off of the property.

16. During the same interview, Luann told the FBI that in January 2006
David called her when she was living with Richard and Joan and told her
that it would be alright for her to sell her house in Rapid City. He told her
that she would only be able to take a few belongings and that the Samoan
Mafia could only protect her for 30 minutes. Luann and Richard said that
they drove to Rapid City and filled Luann's car with a few trash bags full of
belongings. Luann said that she then sold her house and all the property
inside of it.

17. During the same interview, Richard, Joan and Luann told the FBI that
in January 2007 David made numerous phone calls to them. During these
calls, David demanded money and repeatedly mentioned that he had
made some sort of mistake, that his life was being threatened, and that
the only way out was "6 feet under." David told them not to ask any
questions and that if they did not send him the money, he and the
Rosetter family would be killed. During the month, Richard, Joan and
Luann wired a total of $7,147 to David. Luann provided the FBI with
original Western Union receipts which documented these wire transfers.

18. During the same interview, Richard, Joan and Luann told the FBI that
from January 2007 through June 2007, Fia called them on numerous
occasions and explained that David had embarrassed her family and that
"Uncle Mo" was angry and would kill David as well as them if money was
not paid to Fia to cover the alleged debt that David had incurred.

USE OF E-MAIL ACCOUNTS TO EFFECT THE FRAUDULENT SCHEME




                                     28
CASE 0:10-cr-00083-JNE-JSM       Doc. 93    Filed 10/01/10    Page 29 of 56




19. During the same interview, Luann told the FBI that on or about April
23, 2007, Tau called her and asked for her e-mail address. Tau also told
her that Tau had a lot to update Luann and her parents about and said
that it would be easiest to do so in an e-mail message.

20. I have reviewed an e-mail message to Luann on April 23, 2007, that
was purportedly sent from Tau from e-mail address tdawg05@yahoo.com.
(Richard and Luann provided the FBI with their personal e-mail records.)
Tau wrote that "Uncle Mo" and the Samoan Mafia had discovered that
David had an affair with an exotic dancer and, as a result, had a child out
of wedlock. She also wrote that David had left Fia to be with the dancer
and had amassed a huge amount of credit card debt. Because of this
embarrassment, the Samoan Mafia was extremely angry with David and
determined that he and his family would be held responsible. Tau wrote
that "Uncle Mo" and the Samoan Mafia had given David instructions to
repay his debt to the family and that "IF David does not follow "Uncle
Mo's" instructions THEN him and his family (you and your parents) will
suffer the consequences-' swimming with the fishes'." (The capital lettering
appeared in the original as with the other emails referenced below.) The
family was given a deadline of April 23, 2007, at 10:30 a.m., to payoff the
credit card debt. The email went on to say that if the credit card was not
paid off, "HE AND HIS FAMILY (YOU AND YOUR PARENTS) WILL BE
'DEALT WITH IMMEDIATELY.'. "

21. I have reviewed another e-mail message that was addressed to both
Richard and Luann on April 25, 2007, that was purportedly sent from Fia
from fia.rosetter@yahoo.com. Fia wrote that David had left her with a
huge amount of debt and was afraid to tell "Uncle Mo" about it.

22. I have reviewed another e-mail message to both Richard and Luann
on April 28, 2007, that was purportedly sent from Fia from
fia.rosetter@yahoo.com. The e-mail stated she had been embarrassed
and left in financial ruins because David had left her for another woman.
She asked Richard and Luann to send her money.

23. I have reviewed another e-mail message to Luann on May 18, 2007,
that was purportedly sent from "Uncle Mo" from aeto.iseula@yahoo.com.
When referring to David, "Uncle Mo" stated that the Samoan Mafia had
come to the conclusion that they must "'FINISH HIM OFF' COMPLETELY.
HENCE IT MEANS SLEEPING WITH THE FISHES." The e-mail goes on
to say: "UNFORTUNATELY IT LOOKS VERY GRIM FOR ALL OF YOU
TOO. WHY? BECAUSE HIS FATE IS ALSO YOUR FATE. YES, DAVID
IS WELL AWARE THAT WHATEVER HE DOES WILL HAVE
CONSEQUENCES UPON HIMSELF. AS WELL AS ALL OF YOU
(GRAMPS, GRANDMA AND SWEEPY)." (Investigation reveals that these
nicknames relate to Richard, Joan and Luann, respectively.) The e-mail



                                    29
CASE 0:10-cr-00083-JNE-JSM      Doc. 93    Filed 10/01/10    Page 30 of 56




concluded by demanding $164,000 to cover the debt allegedly incurred by
David.

24. I have reviewed another e-mail message to Luann on May 18, 2007,
that was purportedly sent from "Uncle Mo" from aeto.iseula@yahoo.com.
In the e-mail, "Uncle Mo" instructed Luann and Richard to contact David
using drosetter@gmail.com in order to hear directly from David about the
trouble he had caused. The email reiterated the deadline to gather the
money or they would "IMMEDIATELY FINISH HIM OFF NOW. AN EYE
FOR AN EYE!"

25. During the interview on June 14, 2007, Luann told the FBI that on May
18, 2007, she sent an e-mail todrosetter@gmail.com asking David to
explain himself. Shortly thereafter, she received a response purportedly
from David using drosetter@gmail.com stating: "OH SHIT! Big Mo was not
bluffing at all." Luann replied and expressed concern for David's safety.
Shortly     thereafter,   Luann     received    another    e-mail     from
drosetter@gmail.com stating: "Why should I do what Big Mo tells me?! I'm
in love with my Chamorro (Guam) girlfriend and we have a daughter
together." The e-mail also contained a photograph depicting a scantily
dressed woman exposing her breasts. (I have reviewed copies of these
email messages.)

26. I have reviewed another e-mail message to Luann on May 21, 2007,
purportedly from "Uncle Mo" sent from aeto.iseula@yahoo.com. The e-
mail demanded an additional $120,000 to payoff a condominium which
would "save the lives" of Richard, Joan, Luann and David.

27. I have reviewed another e-mail message sent to Luann on May 27,
2007, purportedly from "Uncle Mo" from aeto.iseula@yahoo.com
demanding that all money they required from Richard, Joan and Luann be
paid immediately. The e-mail stated that "DAVID'S DEBTS HAVE TO
PAID NOW" and "YOUR OPTIONS ARE GETTING SLIMMER AND
SLIMMER AT THIS POINT. YES EITHER DO OR DIE FOR ALL OF
YOU!"

28. I have reviewed another e-mail message to Luann on May 28, 2007,
purportedly sent from Fia from fia.rosetter@yahoo.com. The e-mail stated
that "Uncle Mo is not happy at all!" and that more money was needed to
payoff her bills to satisfy him.

29. I have reviewed numerous other e-mail messages to Luann from May
28, 2007, to June 22, 2007, purportedly sent from "Uncle Mo" from
aeto.iseula@yahoo.com. In these e-mails, "Uncle Mo" made repeated
threats against the lives of Richard, Joan and Luann and demanded
money.



                                   30
CASE 0:10-cr-00083-JNE-JSM      Doc. 93    Filed 10/01/10    Page 31 of 56




30. I have reviewed another e-mail message to Luann on June 22, 2007,
purportedly sent from David from drosetter@gmail.com stating: "Yes, I
fucked up and I am paying the price for it" I seriously cannot believe you
would question Uncle Mo and his sons."

31. On June 22, 2007, the FBI reviewed a number of financial records
supplied by Richard, Joan and Luann. These records consist of receipts
of wire transfers from Western Union and copies of bank account
statements. These records reflect that from January 2007 through June 5,
2007, Richard, Joan and Luann wired a total of $185,000 to David and
Fia. They stated that this money was sent as “pay-offs” for money
demanded by “uncle Mo” and the Samoan Mafia.

32. In July 2007, the FBI obtained subscriber and IP connection
information from Yahoo and Google for e-mail accounts
aeto.iseula@yahoo.com, fia.rosetter@yahoo.com, tdawg05@yahoo.com
and drosetter@gmail.com. This information revealed the following:

      a. The name associated with aeto.iseula@yahoo.com is “Ms. Fia
      R.” The alternate email address provided for the account is
      laumatafiafia@gmail.com.        The IP connection logs for
      aeto.iseula@yahoo.com from May 2007 through June 2007 list IP
      addresses 68.115.189.25 and 68.119.168.53.                  Through
      investigation, I have discovered that an individual with IP address
      68.119.168.53 has accessed all of the accounts and that this IP
      address belongs to “David R. Rosetter.”

      b. The name associated with fia.rosetter@yahoo.com is “Mrs.
      Laumatafiafia Rosetter.”      The IP connection logs for
      fia.rosetter@yahoo.com from May 2007 through June 2007 list the
      same two IP addresses that connected to aeto.iseula@yahoo.com,
      namely 68.115.189.25 and 68.119.168.53.

      c. The name associated with tdawg05@yahoo.com is “Ms T
      DAWG.” The alternate email address provided for the account is
      laumatafiafia@hotmail.com. The majority of the connections to the
      account were from IP address 68.119.168.53.

      d. The name associated with drosetter@gmail.com is “David
      Rosetter.” The IP connection logs for drosetter@gmail.com from
      May 2007 through June 2007 list the same two IP addresses that
      connected         to       aeto.iseula@yuahoo.com          and
      fia.rosetter@yahoo.com, namely 68.115.189.25 and 68.119.168.53.




                                   31
     CASE 0:10-cr-00083-JNE-JSM        Doc. 93    Filed 10/01/10   Page 32 of 56




      33. On August 7, 2007, the Honorable Janie S. Mayeron, United States
      Magistrate Judge, issued search warrants for information pertaining to the
      above-described e-mail accounts. Thereafter, the FBI obtained records
      for these accounts. For e-mail account aeto.iseula@yahoo.com, the FBI
      found an e-mail attachment with a letter attachment addressed to David,
      dated January 20, 2007. In the letter, which is signed by “Papa Mo,”
      “Papa T,” “Tony” and the “OSO,” it states: “YOUR FAMILY HAVE
      ALWAYS BEEN UNDER SURVEILLANCE SINCE YOU WERE
      STATIONED AT 32ND STREET IN SAN DIEGO!....IT DOES NOT MAKE A
      DIFFERENCE THAT YOU ARE NOT IN THE CONTINTENTAL UNITED
      STATES. BECAUSE I HAVE ‘EYES AND EARS’ EVERYWHERE YOU
      WILL BE!”       The message directs David to use e-mail address
      mnpalagi@yahoo.com to send e-mail messages to “Uncle Mo” and the
      other Samoan Mafia members, because it is “more secure.” The FBI has
      reviewed other e-mails from these accounts which reflect that David was
      likely an unwitting accomplice to the fraudulent scheme and was also
      duped into believing the representations made by Fia and Tau.

      34. Based on the foregoing, there is probable cause to believe that
      Laumatafiafia Rosetter and Tau (last name unknown) unlawfully,
      knowingly and intentionally devised a scheme and artifice to defraud and
      then transmitted by means of wire in interstate commerce writings for the
      purpose of executing such scheme and artifice in violation of 18 U.S.C.
      1343.

      35. Based on the foregoing, there is probable cause to believe that in the
      computers, records and documents owned, maintained, and operated by
      Yahoo, there exists evidence of the commission of the above-described
      offense, contraband, the fruits of crime, property designed or intended for
      use and which is and has been used as the means of committing the
      offense, and more particularly described in Attachment A.

Gov’t Ex. 2.

      With regard to the September 19, 2007 warrant for mnpalagi@yahoo.com, David

and Fia both challenged the warrant on the same basis as they had argued with respect

to the August 7, 2007 warrants – i.e. the warrant made bald assertions of various false

statements and illegal activities without any factual basis. David’s Mem., p. 3; Fia’s

Mem., p. 7.    Additionally, both defendants argued that the warrant was deficient

because there was no probable cause to believe that contraband or evidence of a crime




                                          32
        CASE 0:10-cr-00083-JNE-JSM         Doc. 93   Filed 10/01/10    Page 33 of 56




would be found in the mnpalagi@yahoo.com account. David’s Mem., p. 4; Fia’s Mem.,

p. 8.

        Defendants’ arguments are rejected. The victims’ story of extortion and fraud

was corroborated not only by the very same emails and facts discussed above in

connection with the August 7, 2007 warrants, but the affiant described two additional

emails he had obtained and reviewed to support their claims: an email dated June 22,

2007 from David to Luann, and the email from the aeto.iseula@yahoo.com account

which attached a letter addressed to David signed by “Papa Mo,” “Papa T,” “Tony” and

the “OSO,” confirming the surveillance of David’s family and directing David to use the

e-mail address mnpalagi@yahoo.com to send e-mail messages to “Uncle Mo” and the

other Samoan Mafia members. Gov’t Ex. 2, ¶¶ 30, 33.

        Further, the affidavit contained a description of records reviewed by agents

establishing that Richard, Joan and Luann had wired $185,000 to David and Fia, again

corroborating the information the victims had provided in their interview with agents

regarding the payments to David and Fia as payoffs in response to the threats. Gov’t

Ex. 2, ¶¶ 17, 31.

        All of these facts, along with the letter attached to the January 20, 2007 email

from the aeto.iseula@yahoo.com account to David, supported the request for a search

of the mnpalagi@yahoo.com account. The email account aeto.iseula@yahoo.com had

already    been     determined   to   be   associated   the   other   email   accounts   of

fia.rosetter@yahoo.com, tdawg05@yahoo.com, and drosetter@gmail.com, all of which

had contained other allegedly illegal emails that had been sent to the Rosetters.

Further, this attachment, like other emails, both threatened David and instructed him to




                                             33
     CASE 0:10-cr-00083-JNE-JSM        Doc. 93    Filed 10/01/10   Page 34 of 56




use mnpalagi@yahoo.com account for future email messages to Uncle MO and other

Samoan Mafia members. Based upon the totality of the circumstances, the Court finds

that substantial evidence existed to support the finding of probable cause to issue the

search warrant for mnpalagi@yahoo.com.

      C.     June 26, 2008 Warrants

      Agent Stankevitz applied for two more search warrants on June 26, 2008, one for

the email account of aeto.iseula@yahoo.com, controlled by Yahoo! Inc., and the other

for the email account of paythepiper@live.com, controlled by Microsoft Online Services.

The warrants were signed by the undersigned. Gov’t Exs. 1A and 5A. The affidavit

accompanying those warrants was identical to the affidavit for the September 19, 2007

warrant for mnpalagi@yahoo.com until Paragraph 31, at which point it substituted the

following information that Agent Stankevitz had obtained since executing the earlier

warrants:

      31. I have reviewed an e-mail message to Luann and Richard on April 10,
      2008, purportedly sent from "Big Mo" from aeto.iseula@yahoo.com stating
      "I DO NOT CARE IF YOU EITHER DISOWNED OR DO NOT
      RECOGNIZED DAVID AS YOUR SON ANYMORE. THAT IS NOT MY
      PROBLEM! HE IS STILL YOUR SON IN OUR EYES! I TOOK CARE OF
      HIS FINANCIAL OBLIGATIONS AND DEBTS, ETC. WHETHER YOU
      LIKE IT OR NOT YOU OWE ME. IT IS ALL IN THE PRINCIPAL! DO NOT
      FORGET THAT ACCIDENTS DO HAPPEN WHEN ONE LEAST
      EXPECTED! ONE SHOULD BE CAREFUL NOT TO CROSS ME."

      32. I have reviewed an e-mail message to Richard on April 28, 2008,
      purportedly sent from "Papa Mo" from paythepiper@live. Com stating,
      "WHY ARE YOU STALLING? WERE YOU NOT SPECIFICALLY TOLD
      TO DEAL DIRECTLY WITH ME?" and "IF UNFORTUNATE EVENTS
      START HAPPENINGTHEN IT IS BECAUSE YOU DID NOT REPLY TO
      THIS EMAIL!"

      33. I have reviewed an e-mail message to Richard on April 29, 2008,
      purportedly sent from "Papa Mo" from paythepiper@live.com stating, "IT
      LOOKS LIKE YOU ARE HOLDING BACK ON ME. IS THERE A



                                          34
     CASE 0:10-cr-00083-JNE-JSM       Doc. 93    Filed 10/01/10    Page 35 of 56




      PROBLEM?" and "DO NOT FORGET TO LOOK OVER YOUR
      SHOULDER AT ALL TIMES-YOU NEVER KNOW WHO WILL STOP BY
      THE HOUSE," and informing Richard that contractors from South Dakota
      had located Luann, were furious with her, and she was again in danger
      from them.

      34. I have reviewed an e-mail message to Richard and Luann on May 1,
      2008, purportedly sent from "Papa Mo" from paythepiper@live.com
      stating, "YOU WILL BE WAKING UP AND GOING TO BED IN FEAR!"
      and "DUE TO THE FACT THAT YOU REFUSE TO RESPOND TO ME
      THEN I WILL BE A FIXTURE OF YOUR LIVES!"

      35. I have reviewed an e-mail message to Richard and Luann on May 2,
      2008, purportedly sent from "Papa Mo" from paythepiper@live.com
      stating, "I HEAR AND SEE EVERYTHING THAT GOES ON IN YOUR
      HOUSE!" and "IT IS DONE! I LOOK FORWARD TO MEETING UP WITH
      YOU ALL IN PERSON!" and "EXPECT THE UNEXPECTED FROM NOW
      ON - I AM ON MY WAY TO FELLOWSHIP WITH YOU!"

      36. I have reviewed several other e-mail messages to Luann and Richard
      between May 2, 2008 and May 7, 2008, purportedly from “Papa Mo” from
      the email address paythepiper@live.com. In each message, the sender
      continually harasses, threatens, and implies danger to Richard, Luann,
      and Joan unless they pay $360,000.

      36. (sic) A review of subscriber and customer information for the above-
      referenced e-mail accounts obtained through court-ordered search
      warrants and independent investigation links them all to the Rosetters.

      37. Based on the foregoing, there is believe that Laumatafiafia Rosetter
      and Tau (last name unknown) unlawfully, knowingly and intentionally
      devised a scheme and artifice to defraud and then transmitted by means
      of wire in interstate commerce writings for the purpose of executing such
      scheme and artifice in violation of 18 U.S.C. § 1343.

      38. Based on the foregoing, there is probable cause to believe that in the
      computers, records and documents owned, maintained, and operated by
      Yahoo and Microsoft, there exists evidence of the commission of the
      above-described offense, contraband, the fruits of crime, property
      designed or intended for use and which is and has been used as the
      means of committing the offense, and more particularly described in
      Attachments A and B.

Gov’t Exs. 1A and 5A.




                                         35
      CASE 0:10-cr-00083-JNE-JSM            Doc. 93   Filed 10/01/10    Page 36 of 56




      David and Fia challenged the June 26, 2008 warrants on the same grounds as

the other warrants – they claimed the warrants were unsupported by probable cause

because they offered no facts in support the conclusions set forth in the affidavit.3

David’s Mem., p. 3; Fia’s Mem., p. 7.

      Again, the Court finds that the affidavits set forth facts indicating that the safety of

the Rosetters was under threat if the Rosetters failed to pay money to Uncle Mo, David

and   Fia   and   that   the   additional    emails   from   aeto.iseula@yahoo.com       and

paythepiper@live.com corroborated the facts provided by the victims of the alleged

scheme up through the date of the applications for the search warrants. Additionally,

new facts indicated that not only were there emails demanding money and threatening

harm via aeto.iseula@yahoo.com from January 2007 through April, 2008, but they were

now coming from another email account, paythepiper@live.com.

      Based upon the totality of the circumstances, the Court finds that substantial

evidence existed to support the finding of probable cause to issue the search warrants

for the email addresses aeto.iseula@yahoo.com and paythepiper@live.com.

      D.     Particularity

      Each of the search warrants sought: all electronic mail contained in the email

addresses or on behalf of the individuals for the email accounts; existing printouts of



3
       David and Fia also contended that the warrant for aeto.iseula@yahoo.com (Gov’t
Ex. 1A) must be suppressed because although the warrant was issued at 2:10 p.m. on
June 26, 2008, the affidavit was not signed until two days later, on June 28, 2008.
David’s Mem., p. 4; Fia’s Mem., p. 8. After researching its calendar, the undersigned
discovered that it made an error in dating the signature of the affidavit. The
undersigned was assigned to criminal duties on Thursday, June 26, 2008. On June 28,
2008, a Saturday, the undersigned was out of town and the Magistrate Judge on duty
for criminal matters was Magistrate Judge Jeffrey Keyes. Exhibit 1A and Exhibit 5A
were signed by the undersigned at the same date and time, June 26, 2008 at 2:10 p.m.


                                              36
     CASE 0:10-cr-00083-JNE-JSM        Doc. 93    Filed 10/01/10    Page 37 of 56




original email; transactional information associated with the email addresses, accounts

or individuals, including user connection logs, connection information for other systems

to which users connected, ports accessed, dial-up numbers accessed, purchases

made, websites visited and services or information accessed through personalized

home pages; all business records and subscriber information pertaining to the email

address and to any email subscriber who sent a message to or received a message

from the email address, and any address books, buddy lists or other stored files or

documents associated with the accounts. Gov’t Exs. 1A, 2-4, 5A.

      Tau argued that all five warrants failed to describe the items to be seized with

particularity, and accordingly, there was no showing of probable cause that all of the

records sought by the warrants were likely to evidence criminal activity. Tau’s Mem.,

pp. 18-19 [Docket No. 86].

      “To satisfy the particularity requirement of the Fourth Amendment, the items to

be seized and the places to be searched must be described with sufficient particularity

as to enable the searcher to locate and identify the places and items with reasonable

effort and to avoid mistakenly searching the wrong places or seizing the wrong items.”

United States v. Gleich, 397 F.3d 608, 611 (8th Cir. 2005) (citations omitted). “The

degree of specificity required will depend on the circumstances of the case and on the

type of items involved.” United States v. Horn, 187 F.3d 781, 788 (8th Cir. 1999). The

particularity requirement “is a standard of ‘practical accuracy’ rather than a

hypertechnical one.”   United States v. Peters, 92 F.3d 768, 769-70 (8th Cir. 1996)

(quoting United States v. Lowe, 50 F.3d 604, 607 (8th Cir.), cert. denied, 516 U.S. 900,

116 S.Ct. 260, 133 L.Ed.2d 183 (1995)). See also United States v. Jansen, 470 F.3d




                                          37
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93    Filed 10/01/10    Page 38 of 56




762, 766 (8th Cir. 2006) (“The standard used to determine whether a warrant

description is sufficiently specific is one of ‘practical accuracy,’ and the degree of

specificity may change according to circumstances.”) (quoting United States v. Porter,

831 F.2d 760, 764 (8th Cir. 1987)).

      The Court finds the list of records to be seized attached to each of the five search

warrants to be sufficiently particular and the facts stated in the affidavits supported the

categories items to be searched and seized. Defendants were being investigated for

fraud committed through the use of email. Agent Stankevitz’s affidavit makes it clear

that email was used to further the alleged fraud, and it was reasonable for the warrants

to seek emails associated with the email addresses at issue on that basis, along with

connection information to establish the location of the individuals logging on to those

email addresses, subscriber information for senders and receivers to determine the

scope of the alleged fraud and the identity of other individuals who may be involved in

the fraud.   The Court does not find that this was a generalized search, but rather

concludes it was tailored to an alleged crime perpetrated through the use of electronic

mail. In sum, the list was sufficiently particular to enable Yahoo!, and Google to “locate

and identify the places and items with reasonable effort and to avoid mistakenly

searching the wrong places or seizing the wrong items.” Gleich, 397 F.3d at 611.

Accordingly, the Court finds that the search warrants were sufficiently particular and

recommends denial of Tau’s motion to suppress evidence seized on the five search

warrants on this basis.




                                            38
       CASE 0:10-cr-00083-JNE-JSM       Doc. 93    Filed 10/01/10    Page 39 of 56




III.   FIA’S MOTION TO SUPPRESS ALL ELECTRONIC SURVEILLANCE
       EVIDENCE AND ALL DISCLOSED ELECTRONIC COMMUNICATIONS AND
       ANY EVIDENCE DERIVED THEREFROM

       Fia’s motion seeks to suppress electronic surveillance and all disclosed

electronic communications “because the communications at issue were unlawfully

intercepted or disclosed, and the orders of authorization or approval or disclosure

pursuant to which the communications were intercepted or disclosed are statutorily

insufficient. 18 U.S.C. §§ 2518(10)(a), 2515, and 2703.” Fia’s Electronic Suppression

Motion, p. 1 [Docket No. 38]. The motion refers to “at least one intercepted telephonic

communication and the disclosure of a voluminous quantity of other electronic

communications.” Fia did not submit a memorandum in support of this motion nor did

she give the Court any clue as to which communications (telephonic or otherwise) she

sought to suppress. At a minimum, it is defendant’s burden to come forth with some

evidence and argument to support his position that evidence, statements or a witness

identification should be suppressed. See United States v. Starks, 193 F.R.D. 624, 629

(D. Minn. 2000) (quoting United States v. de la Fuente, 548 F.2d 528, 533 (5th Cir.),

cert. denied 431 U.S. 932 (1977) (“It is well established that the burdens of production

and persuasion generally rest upon the movant in a suppression hearing.”)). As the

court in Starks observed, “even in those circumstances where the Government has the

ultimate burden of persuasion, Defendant has the initial burden of making a prima facie

showing of illegality.” 193 F.R.D. at 629; see also United States v. Diezel, 608 F.2d

204, 207 (5th Cir. 1979) (“As this Court said in United States v. Evans, 572 F.2d 455,

486 (5th Cir. 1978), cert. denied 439 U.S. 870 (1978), ‘The burden is on the movant to

make specific factual allegations of illegality, to produce evidence, and to persuade the




                                           39
      CASE 0:10-cr-00083-JNE-JSM          Doc. 93     Filed 10/01/10     Page 40 of 56




court that the evidence should be suppressed.’”). Failure to provide the Court with any

support for the motion is a sufficient basis for denial of the motion.

       Nevertheless, even if the Court were to presume the intercepted telephonic

communication refers to the tape-recording by Luann of the phone conversation

between Fia and Luann referring to Papa Mo, obtained at the request of Agent Dudley

on June 22, 2007, (Tr. 44, 83), or all the emails obtained via the five search warrants,

Fia’s motion would fail.

       Title I of the Electronic Communications Privacy Act of 1986, Pub.L. No. 99-508,

Title I, 100 Stat. 1851, regulates the interception of wire, oral and electronic

communications. 18 U.S.C. § 2510-22 (2000).4 Warrantless electronic surveillance will

not violate the Act or the Fourth Amendment if the interceptor is a party to the

conversation or one of the parties has given prior consent to the interception. See 18

U.S.C. § 2511(2)(c) (“[i]t shall not be unlawful under this chapter for a person acting

under color of law to intercept a wire, oral, or electronic communication, where such

person is a party to the communication or one of the parties to the communication has

given prior consent to such interception”). “Thus, when a law enforcement officer or

government informant participates in a conversation and records the conversation

without prior judicial authorization, the evidence is admissible.” 36 Geo. L.J. Ann. Rev.

Crim. Proc. (2007), p. 156, n. 467 (citations omitted). See also United States v. Corona-

Chavez, 328 F.3d 974, 978-980 (8th Cir. 2003) (electronic evidence found admissible

where informant consented to recording phone conversation and videotaping meeting

with defendant). Here, Luann consented to taping the phone conversation with Fia.

4
      Title I amended Title III of the Omnibus Crime Control and Safe Streets Act of
1968, Pub.L. No. 90-351, 82 Stat. 212.


                                             40
      CASE 0:10-cr-00083-JNE-JSM        Doc. 93    Filed 10/01/10    Page 41 of 56




Consequently, if Fia was seeking by her motion to suppress the conversation, this

motion should be denied.

       As to the any emails obtained from Yahoo! or Google pursuant to the five search

warrants, as this Court has determined that all five search warrants were proper, this

Court finds no violation of 18 U.S.C.A. § 2703 governing disclosure of customer

communications or records by a provider of electronic communication service pursuant

to a valid warrant.

IV.    MOTIONS TO SUPPRESS STATEMENTS

       A.     Standard of Review

       Miranda v. Arizona requires that an individual be advised of her right to be free

from compulsory self-incrimination and the right to the assistance of an attorney anytime

the individual is taken into custody for questioning. Miranda v. Arizona, 384 U.S. 436,

444 (1966); see also United States v. Griffin, 922 F.2d 1343, 1347 (8th Cir. 1990).

Therefore, the protections afforded by Miranda are triggered when an individual "is both

in custody and being interrogated." United States v. Hatten, 68 F.3d 257, 261 (8th Cir.

1995) (citing United States v. Lawrence, 952 F.2d 1034, 1036 (8th Cir.), cert. denied,

503 U.S. 1011 (1992)). “Custody occurs either upon formal arrest or under any other

circumstances where the suspect is deprived of his freedom of action in any significant

way.” Miranda, 384 U.S. at 444.

       All three defendants have premised their motions to suppress statements on the

contention that because they were in custody and they were not given the Miranda

warning, their statements should be suppressed. The government disagrees, arguing

that no Miranda warning was required because the totality of the circumstances shows




                                           41
      CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 42 of 56




that no defendant was in custody. As such, the sole issue presented by the motions to

suppress statements is whether any defendant was in custody at the time of their

respective interviews and their oral and written statements were obtained.

       When determining whether a suspect is in custody, courts consider the following

six “indicia of custody”:

              (1) whether the suspect was informed at the time of questioning
                  that the questioning was voluntary, that the suspect was free to
                  leave or request the officers to do so, or that the suspect was
                  not under arrest;

              (2) whether the suspect possessed unrestrained freedom of
                  movement during the questioning;

              (3) whether the suspect initiated contact with authorities or
                  voluntarily acquiesced to official requests to respond to
                  questions;

              (4) whether strong arm tactics or deceptive stratagems were
                  employed during questioning;

              (5) whether the atmosphere of the questioning was police
                  dominated; and

              (6) whether the suspect was placed under arrest at the termination
                  of the questioning.

Griffin, 922 F.2d at 1349; see also, e.g., United States v. Axsom, 289 F.3d 496 (8th Cir.

2002). The first three factors are considered “mitigating factors” which, if found, tend to

show that the suspect was not in custody. Griffin, 922 F.2d at 1349. The remaining

three factors are characterized as “coercive factors” which, if found, tend to show the

existence of custody. Id.

       The determination of whether an individual is in custody at a particular time

depends on “the extent of the physical or psychological restraints placed on the suspect

during interrogation in light of whether a ‘reasonable person in the suspect's position



                                            42
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93     Filed 10/01/10     Page 43 of 56




would have understood his situation’ to be one of custody.” Griffin, 922 F.2d at 1347

(quoting Berkemer v. McCarty, 468 U.S. 420, 442 (1984)). Moreover, the determination

is based on the totality of the circumstances, with none of the factors being dispositive,

and a particularly strong showing on one factor may compensate for a deficiency on

another factor. Griffin, 922 F.2d at 1347. The ultimate inquiry is whether there was a

formal arrest or restraint on a defendant’s movement of the degree associated with a

formal arrest. Stansbury v. California, 511 U.S. 318, 322 (1995).

      Miranda warnings are not required merely because law enforcement officers

question an individual who they suspect committed a crime.           See United States v.

Leese, 176 F.3d 740, 744 (3rd Cir. 1990) (citing Oregon v. Mathiason, 429 U.S. 492,

495 (1977)). “Nor is the requirement of warnings to be imposed simply because the

questioning takes place in the station house, or because the questioned person is one

whom the police suspect.” Mathiason, 429 U.S. at 495. See also United States v.

Galceran, 301 F.3d 927, 931 (8th Cir. 2002) (“Miranda warnings need not be imposed

simply because the questioning takes place in a police station.”).

      With these principles in mind, the Court now examines each defendant’s motion

to suppress statements.

      B. David Richard Rosetter’s Motion to Suppress Statements, Admissions,
         and Answers [Docket No. 66]

      David Rosetter moved to suppress his statements made at the NCIS office,

arguing that he was confined against his will at the time of the interview, and that the

circumstances surrounding his statement demonstrated that he was in custody and not

free to leave when he was questioned, therefore requiring a reading of his Miranda

rights. David Rosetter’s Mem. in Support, p. 2 [Docket No. 88].



                                           43
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93    Filed 10/01/10    Page 44 of 56




       Based on the totality of the circumstances and examination of the six indicia of

custody set forth in Griffin, the Court finds that David was not in custody during the

interview at NCIS on January 14, 2009. Initially, David was informed that he did not

have to speak to Agent Dudley if he did not want to do so, he was asked if he would be

willing to do so and he agreed. Furthermore, upon arrival at the NCIS office, Agent

Dudley reviewed with David that he was there voluntarily and that any statements he

made would be voluntary. David was never handcuffed and he was not restrained in

any manner at his office or during the interview at NCIS. The interview at NCIS took

place in a large conference room, with open doors, and there is no evidence that David

was physically unable to leave. In fact, David was left alone on several occasions.

Although David did not initiate contact with law enforcement, he did agree to go with the

agents to the NCIS office to continue the interview. There, he voluntarily agreed to

answer all the questions of the agents and never refused to answer any questions.

       There was also no evidence or suggestion that strong-arm tactics or deception

were employed by the agents who interviewed David. Agent Dudley introduced himself

as an FBI agent and asked if he could speak with David. The tone of the interview was

relaxed and conversational, David was not threatened and the agents made no

promises to him except that they would convey his cooperation to the prosecuting

authorities. Agent Dudley’s weapon was concealed, and he was dressed down.

       Additionally, the atmosphere of the interview at NCIS was not dominated by law

enforcement. In evaluating the factor of police domination, the Court considers the

place and length of the interrogation, whether the police controlled the interrogation site

and dictated the course of conduct of the suspect and other individuals, and whether the




                                            44
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93   Filed 10/01/10    Page 45 of 56




suspect was removed “from the presence of family, friends, or colleagues who might

lend moral support during the questioning.” Griffin, 922 F.2d at 1352. In this case,

there were two agents and David in a large conference room. Although the interview

took place at NCIS, Agent Dudley testified that there were not many people around the

NCIS office. Also, David had a cell phone with him and took at call from Fia at one

point. See United States v. LeBrun, 363 F.3d 715, 722 (8th Cir. 2004) (finding that a

cell phone provides “a line of communication between [defendant] and the outside world

and to some extent mitigated the incommunicado nature of interrogations with which the

Miranda court was concerned and the psychological pressure associated with being

isolated in an interview room.”).   Finally, David was not placed under arrest at the

conclusion of the interview.5 See LeBrun, 363 F.3d at 722 (“stating that the lack of

arrest was a “‘very important factor weighing against custody.’”) quoting Galceran, 301

F.3d at 931. Instead, he was given a ride back to the Base by the agents and then with

his permission, to go pick up his son.

      In California v. Beheler, 463 U.S. 1121, 103 S.Ct. 3517, 77 L.Ed.2d 1275 (1983)

(per curiam), the Supreme Court held that a person is not in custody if “the suspect is

not placed under arrest, voluntarily comes to the police station, and is allowed to leave

unhindered by police after a brief interview.” Such is the case here. In light of the

above facts and analysis, the Court concludes that David was not in custody during the

interview at NCIS on January 14, 2009.       As such, he was not entitled to Miranda




5
      According to the Government, none of the defendants were arrested and all
appeared on a summons following the Indictment. Gov’t Response, p. 5 [Docket No.
90].


                                           45
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93     Filed 10/01/10    Page 46 of 56




warnings and his motion to suppress statements made during the January 14, 2009

interview at NCIS should be denied.

       C. Laumatafiafia T. Rosetter’s Motion to Suppress Statements Made by
          Defendant [Docket No. 37]

       Fia moved to suppress all of her oral and written statements based on the

contention that she was in custody at the time the statements were made and she was

not provided with Miranda rights. Fia’s Mem., pp. 1-6 [Docket No. 87]. Fia’s arguments

are restricted to her interview at the NCIS office, rather than the initial portion of the

interview that occurred at the Rosetter residence. Id.

       With regard to the first Griffin factor, Fia contended that because she was not

specifically told that she was free to leave or free to terminate the interview, that factor

is evidence of the custodial nature of the encounter. Id., p. 3. This contention ignores

that fact that Fia was told that her cooperation was voluntary. Agent Dudley told Fia

that providing a written statement was voluntary and she did not have to do it, it was a

serious matter that would be turned over to a prosecutor to examine for criminal

charges, and again told Fia she did not have to provide a written statement if she did

not want to do so. Notwithstanding these statements, Fia wanted to give her version.

       In Yarborough v. Alvarado, 541 U.S. 652, 664-65 (2004), the Supreme Court

found that the fact that the suspect was not told that he was free to leave weighed in

favor of a finding of custody; however, in the same case, the Court considered the fact

that the police did not suggest the suspect would be placed under arrest weighed in

favor of a finding that the suspect was not in custody. Although Agent Dudley never told

Fia that she was free to leave or that she was not going to be arrested, he did tell her

that her cooperation was voluntary, and like Yarborough, there is no evidence that



                                            46
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93     Filed 10/01/10    Page 47 of 56




Agent Dudley suggested that Fia was in custody or that Fia believed she was in custody

or was about to be taken into custody. The Court finds that Agent Dudley’s repeated

instruction to Fia that her cooperation was voluntary, in conjunction with the fact that the

agents did not suggest to Fia that she would be placed under arrest, tips the scale in

favor a finding that Fia was not in custody.

       Regarding the second Griffin factor, Fia asserted that she was not in possession

of unrestrained freedom of movement because she was asked to come to a secure

police station on a military base, and was transported there with two agents in their

vehicle, with no means to leave if she wanted. Fia’s Mem., pp. 3-4. However, this

contention again disregards the fact that Fia agreed to continue the interview at the

NCIS office. The record establishes that because the agents did not want to continue

questioning Fia in the presence of her children and wanted to allow David to return their

son to the home, they asked Fia if she had any objection to continuing the interview at

NCIS. Fia stated she had no objection and was willing to accompany the agents to

NCIS. The agents and Fia did not leave immediately; instead they waited at the house

until David returned, and while waiting, Fia offered the agents a bottle of water and

received a phone call from Tau who told that the FBI was there and she was speaking

to them.

       Furthermore, during the interview, Fia was told she could go to the restroom and

get a snack, and after her interview was terminated, Fia was given the choice of leaving

or walking around. Fia did not leave because she was restrained but because she

wanted to stay with the agents and wait for Tau to arrive. Fia then voluntarily waited at

the NCIS building and took a nap until her sister’s interview was over. On these facts, it




                                               47
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93    Filed 10/01/10    Page 48 of 56




is disingenuous to suggest that Fia had no means to leave – she could have walked out

of the NCIS office while Tau was being interviewed. Also, while Fia may not have

driven to the Naval Base in her own car, she was not necessarily dependent solely upon

the agents for transportation and could have called someone for a ride. See LeBrun,

363 F.3d at 723 (noting LeBrun was not dependent upon authorities for transportation

from the highway patrol station where he was being interviewed because he “could

have easily arranged for alternative transportation by calling a coworker, a friend, a

relative, his spouse, or even a taxicab.”). The second Griffin factor weighs against a

finding of custody.

       Fia did not address the third Griffin factor, which is whether the suspect initiated

contact with authorities or voluntarily acquiesced to official requests to respond to

questions. The Court finds that this factor weighs against a finding of custody. Fia

agreed to be interviewed both at home and at the NCIS office, and Agent Dudley

repeatedly described her as chatty and extremely cooperative, friendly and cordial

throughout the interview at the house and at the NCIS office. She also thanked Agent

Dudley for pointing out to her that her hatred of the Rosetters had come back to hurt her

children. Fia’s cooperativeness weighs against a finding of custody. See United States

v. Axsom, 289 F.3d 496, 501 (8th Cir. 2002) (third Griffin factor mitigated against a

finding of custody where defendant was extremely friendly and cooperative).

       As to the fourth Griffin factor bearing on strong arm tactics or deceptive

stratagems, Fia contended that Agent Dudley told her that David was waiting for a

phone call stating that she would go to the NCIS station to continue the interview before

he could return home, and that it was her understanding that neither David nor her son




                                            48
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 49 of 56




would be permitted to return home unless she agreed to continue the interrogation at

the NCIS office. Fia’s Mem., p. 4. This argument is unsupported by the testimony. Fia

agreed to be questioned at the NCIS station. Agent Dudley testified that the reason for

moving the interview to the NCIS office was because they did not want to take a

statement with children running around and they wanted to give David the opportunity to

bring home their son. The Court also observes that Fia told Tau that she had been

treated well by the agents, and that Tau should be straight with them.

      With respect to the fifth Griffin factor, which examines whether the atmosphere

was police dominated, Fia pointed to the fact that she was interviewed in a room at a

police station (the NCIS office). While the location of the interview is a consideration,

the mere fact that Fia was interviewed at a law enforcement office does not, in itself,

lead to the conclusion that she was subjected to a police-dominated atmosphere. See

Mathiason, 429 U.S. at 495; LeBrun, 363 F.3d at 720 (“it cannot be disputed that the

warnings were not required here simply because the questioning [took] place in the

station house.”) (citation omitted). Fia was alone with the two agents, and the rest of

the NCIS office was empty. This factor weighs against a finding of custody.

      Finally, the sixth Griffin factor calls for the consideration of whether Fia was

placed under arrest at the end of the questioning. She was not. See Yarborough, 541

U.S at 664 (suspect went home from the police station at the end of the interview,

suggesting a finding that suspect was not in custody). Instead, she and Tau drove

home following Tau’s interview. This factor weighs against a finding of custody.

      In light of the above facts and analysis, the Court concludes that Fia was not in

custody during the interview at NCIS on January 14, 2009. As such, she was not




                                           49
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93     Filed 10/01/10   Page 50 of 56




entitled to Miranda warnings and her motion to suppress statements made during the

January 14, 2009 interview at NCIS should be denied.

      D. Vatauomalao Dorthea Tafaoa’s Motion for Suppression of Statements
         [Docket No. 44]

      In support of her motion to suppress the statements she made at the NCIS

station, Tau contended that she was in custody and entitled to Miranda warnings. Tau

addressed each of the six Griffin factors.

      Regarding whether she was informed of the voluntary nature of the questioning,

Tau asserted that she was never informed that she was free to leave, that she could

refuse to answer, or that she was not under arrest. Tau’s Mem., p. 10. All of this is

true. However, Agent Dudley testified that prior to the interviews of defendants, he

informed each of them that they did not have to speak with him and asked each of them

if they were willing to speak with him.      Further, prior to Tau providing her written

statement, Agent Dudley told her:

      [T]his was her chance to put it in her words the way she wanted it told,
      that we were going to do a report, and that's where -- you know, I told her
      that she didn't have to, and she kept saying, "I want to cooperate." She
      repeated numerous times throughout the interview, "I want to cooperate
      fully." "I want to be fully cooperative.” And we repeated the fact that, you
      know, criminal charges could result but that we weren't the ones to make
      that decision, but she should know that could happen.

Tr. 61-62.

      As the Court found in its examination of Fia’s interview, Agent Dudley’s

statements to Tau that her cooperation was voluntary and that she did not have to

provide a statement, in conjunction with the fact that the agents did not suggest to Tau

that she would be placed under arrest, tips the scale in favor a finding that Tau was not

in custody.



                                             50
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 51 of 56




      Tau also claimed that she was restrained by her location and circumstances

because she was escorted by an FBI agent onto a Naval Base, brought to a secure

criminal investigation facility, and taken to a small room on the second floor. Tau’s

Mem, p. 12. Tau argued that because she had to travel through a security checkpoint,

she would not have been able to leave if she did not have military identification. Id., p.

13. As an initial matter, it is important to remember that Tau agreed to come to the

NCIS office on her own accord and drove to the office in her own car. Further, like Fia,

the Court observes that there was nothing preventing Tau from leaving the NCIS

building. In fact, there is simply no evidence before the Court regarding the procedures

on the military base, and no one knows for certain whether Tau would or would not

have been able to leave, or whether she did or did not have military identification as a

relative of a naval official.   Agent Dudley surmised that Tau may have needed

identification to pass through the checkpoints, but also unequivocally stated that he did

not know the procedures on the base.        The fact of the matter is that after Tau’s

interview was over, Tau and Fia did leave the NCIS office in Tau’s car.

      Tau also asserted that she was effectively restrained inside the interview room

because it was a small room without many places to sit, citing United States v. Aragon-

Ruiz, 551 F.Supp. 2d 904, 912 (D.Minn. 2008). The Court does not find the facts in

Aragon-Ruiz comparable. In Aragon-Ruiz, the defendant was at home sleeping when

he was awakened by federal agents and detained in his kitchen by four armed agents

while nine to eleven agents in raid gear and firearms patrolled in and around the

house. Id. at 912. Here, Tau was alone with two agents, who were dressed in casual




                                           51
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93     Filed 10/01/10    Page 52 of 56




clothing and whose firearms were concealed, in an otherwise empty NCIS office. This

factor does not weigh in favor of a finding of custody.

      With regard to the third Griffin factor, Tau contended that she did not initiate the

interview.   Tau’s Mem., p. 14.      This is correct.     But this factor also takes into

consideration whether a suspect voluntarily acquiesced to requests to respond to

questioning. Here, Tau agreed to come to the NCIS office, agreed to meet the agent at

David and Fia’s residence so that she could follow him to the office, and Agent Dudley

testified that Tau was extremely cooperative and seemed eager to tell the agents about

what the Rosetters had put her family through. Tau never refused to answer any

questions. Therefore, the third factor weighs against a finding that Tau was in custody

during the interview.

      Regarding the fourth Griffin factor, Tau argued that she was subjected to

deceptive stratagems because Agent Dudley created a situation where Fia would be

detained at the NCIS facility to place pressure on Tau to provide a statement. Tau’s

Mem., p. 15. This argument is not persuasive. First, as discussed above, the Court

does not find that Fia was detained at the NCIS office; she chose to stay and wait for

Tau. Furthermore, there is no testimony that Tau was ever told by agents or by Fia that

Fia could not leave the office unless Tau gave a statement, or that Fia was obligated to

wait at the NCIS station for Tau to give a statement. The only testimony is that Fia

called Tau for Agent Dudley, and that Fia told Tau that the agents had treated her well

and that Tau should be straight with them. Third, under threat of perjury, Tau stated

she had been treated fairly by the agents and they were “straight-up” with her at all




                                           52
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 53 of 56




times. Gov’t Ex. 10, p. 4. Based on this record, the Court does not find that deceptive

stratagems were utilized by the agents. This factor weighs against a finding of custody.

      With respect to the fifth Griffin factor, Tau contended that she was interrogated in

a police-dominated atmosphere, “questioned inside multiple rings of military and

governmental security.” Tau’s Mem., p. 16. This argument does not comport with the

evidence.   According to Agent Dudley, Tau was alone with two FBI agents in an

otherwise empty room, the agents were casually dressed, their firearms were

concealed, the door to the interview room was open, and the NCIS office was

otherwise empty. The Court does not find this to rise to the level of a police dominated

atmosphere. Furthermore, Tau’s argument that she was not able to speak to her sister

at the NCIS facility, isolating her from moral support, is not corroborated by the

testimony. There is no testimony as to whether Tau could or could not see Fia before

her interview, or even whether she did or did not see her before the interview. This

factor weighs against a finding of custody.

      Finally, Tau contended that her arrest was a “foregone conclusion,” and that

Agent Dudley knew Tau would be arrested after he obtained a confession. Tau’s

Mem., p. 17. This argument is unsubstantiated. The simple fact is that Tau was not

arrested at the conclusion of the interview, and according to the Government, was

never arrested. Therefore, this factor weighs against a finding of custody.

      In light of the above facts and analysis, the Court concludes that Tau was not in

custody during the interview at NCIS on January 14, 2009. As such, she was not

entitled to Miranda warnings and her motion to suppress statements made during the

January 14, 2009 interview at NCIS should be denied.




                                           53
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 54 of 56




      E.     Conclusion

      Based on the testimony and evidence presented at the motions hearing, the

Court finds that a reasonable person in each of the defendant’s position would not have

believed that he or she was in custody. On the one hand, it is evident that all of the

interviews took place at the NCIS office on a military base and that none of the

defendants were informed that they were free to leave or would not be arrested prior to

being interviewed. On the other hand, all of the defendants were informed that they did

not need to speak to the agents, all were asked if they would be willing to do so and all

agreed to do so. Further, all of the defendants agreed to come to the NCIS office

voluntarily and no evidence was presented to establish that they could not have left the

interview room or the NCIS office at any time. This evidence, which was applicable to

all defendants, in conjunction with the particular events leading up to the interview of

each defendant, at the interview and following the interview, leads this Court to

conclude that based on the totality of the circumstances, none of the defendants were in

custody at the time they spoke to agents and gave their written statements. On this

basis, the Court recommends that the motions to suppress by all defendants be denied.

V.    RECOMMENDATION

      For the reasons set forth above and based on all the files, records, and

proceedings herein,

      IT IS RECOMMENDED THAT:

      1.     Defendant David Richard Rosetter’s Motion to Suppress Evidence

             Obtained as a Result of Search and Seizure [Docket No. 65] be DENIED;




                                           54
     CASE 0:10-cr-00083-JNE-JSM          Doc. 93     Filed 10/01/10    Page 55 of 56




         2.   Defendant David Richard Rosetter’s Motion to Suppress Statements,

              Admissions, and Answers [Docket No. 66] be DENIED;

         3.   Defendant Laumatafiafia T. Rosetter’s Motion to Suppress All Evidence

              Obtained from Unlawful Searches and Seizures [Docket No. 35] be

              DENIED;

         4.   Defendant Laumatafiafia T. Rosetter’s Motion to Suppress Statements

              Made by Defendant [Docket No. 37] be DENIED;

         5.   Defendant Laumatafiafia T. Rosetter’s Motion to Suppress All Electronic

              Surveillance Evidence and All Disclosed Electronic Communications and

              Any Evidence Derived Therefrom [Docket No. 38] be DENIED;

         6.   Defendant Vatauomalao Dorthea Tafaoa’s Motion for Suppression of

              Physical Evidence [Docket No. 42] be DENIED; and

         7.   Defendant Vatauomalao Dorthea Tafaoa’s Motion for Suppression of

              Statements [Docket No. 44] be DENIED.



Dated:        October 1, 2010
                                                 s/ Janie S. Mayeron
                                                 JANIE S. MAYERON
                                                 United States Magistrate Judge




                                         NOTICE

Under D.Minn. LR 72.2(b) any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by October 15, 2010, a writing
which specifically identifies those portions of this Report to which objections are made
and the basis of those objections. A party may respond to the objecting party's brief
within ten days after service thereof. All briefs filed under this Rules shall be limited to
3500 words. A judge shall make a de novo determination of those portions to which


                                            55
     CASE 0:10-cr-00083-JNE-JSM         Doc. 93    Filed 10/01/10    Page 56 of 56




objection is made. This Report and Recommendation does not constitute an order or
judgment of the District Court, and it is therefore not appealable directly to the Circuit
Court of Appeals.

Unless the parties stipulate that the District Court is not required by 28 U.S.C. § 636 to
review a transcript of the hearing in order to resolve all objections made to this Report
and Recommendations, the party making the objections shall timely order and file a
complete transcript of the hearing on or before October 15, 2010.




                                           56
